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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

UNITED STATES OF AMERICA ex rel.             )
CHRISTOPHER CRAIG and                        )      Civil Case No.:
KYLE KOZA,                                   )      1:22-cv-02698-JPB
                                             )
                                             )
            Plaintiff,                       )
                                             )      JURY TRIAL DEMAND
v.                                           )
                                             )
GEORGIA TECH RESEARCH CORP.                  )
and BOARD OF REGENTS OF THE                  )
UNIVERSITY SYSTEM OF GEORGIA                 )
(d/b/a THE GEORGIA INSTITUTE OF              )
TECHNOLOGY),                                 )
                                             )
            Defendants.                      )

            UNITED STATES’ COMPLAINT-IN-INTERVENTION

      Plaintiff the United States of America (United States) brings this action

against Defendants Georgia Tech Research Corporation (GTRC) and the Board of

Regents of the University System of Georgia, doing business as the Georgia

Institute of Technology (Georgia Tech), seeking relief under the False Claims Act

(FCA), 31 U.S.C. § 1379, et seq. and federal common law for their failure since at

least May 2019 (the relevant time period) to meet cybersecurity requirements of

Department of Defense (DoD) contracts.

      In support of its claims, the United States alleges as follows:
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                           NATURE OF THE ACTION

      1.     The federal government, including the DoD, imposes cybersecurity

requirements on defense contractors for the purpose of protecting non-public

government information that resides, passes through, or can be accessed by

contractor information systems.

      2.     As DoD has explained, these cybersecurity requirements are

“necessary to address threats to the U.S. economy and national security from

ongoing malicious cyber activities, which includes the theft of hundreds of billions

of dollars of U.S. intellectual property.” The threat of cyberattacks is particularly

acute for the Defense Industrial Base (DIB), including the hundreds of thousands

of defense contractors that work with DoD, which often process, store, or transmit

valuable nonpublic government information.

      3.     As DoD has warned, “[m]alicious cyber actors have targeted, and

continue to target [defense contractors and] can exploit the vulnerabilities of

contractors’ networks and systems and exfiltrate information related to some of

the Nation’s most valuable advanced defense technologies.” In particular, “actors

ranging from cyber criminals to nation-states continue to attack companies and

organizations that comprise the Department’s multi-tier supply chain . . . [and]

seek to steal DoD’s intellectual property to undercut the United States’ strategic




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and technological advantage and to benefit their own military and economic

development.”

      4.    This is not a theoretical threat, particularly at the nation’s top research

universities. Since at least 2011, the FBI has warned that universities are prime

targets for cyberattacks by foreign adversaries. As the FBI has explained, “foreign

intelligence services and non-state actors use US colleges and universities to

further their intelligence and operational needs.” Georgia Tech itself has fallen

victim to cyberattacks. In 2019, Georgia Tech announced that the records of 1.3

million individuals had been compromised because of a cyberattack.

      5.    Consequently, as DoD has continuously warned for more than a

decade since it first began enacting cybersecurity regulations in 2013: “Defense

contractors must begin viewing cybersecurity as a part of doing business, in order

to protect themselves and to protect national security.”

      6.    The defendants in this action have failed to heed this warning.

      7.    Through GTRC, over the years, Georgia Tech has entered into

numerous contracts with DoD, a significant portion of which are subject to federal

cybersecurity requirements.

      8.    According to a former Georgia Tech employee who was tasked with

ensuring Defendants’ compliance with federal cybersecurity regulations, there

was, for years, “no enforcement” of cybersecurity regulations at Georgia Tech.


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This was because, as another former Georgia Tech employee explained, with the

tacit and, in some cases, explicit approval of senior leadership, Georgia Tech

routinely bent on compliance with federal cybersecurity regulations and was

undeterred by the risk of submitting “false claims” to the federal government.

      9.    This, according to yet another former Georgia Tech employee, was to

accommodate “researchers [who were] pushing back” on cybersecurity

compliance because they found it burdensome. According to these former

employees, senior leadership at Georgia Tech gave in to the demands of these

researchers to avoid compliance with cybersecurity regulations because “of the

money [the researchers] bring in” from government contracts.

      10.   As one former employee described it, Georgia Tech had a

cybersecurity compliance “culture of somebody up the line is going to overturn

me . . . [so] I might as well go ahead and ignore the policy.” Another former

employee described Georgia Tech’s “attitude” to its “obligations to meet

cybersecurity requirements” as “oh, I don’t want to bother with that.”

      11.   Put simply, according to these former employees, the researchers who

brought in significant government contracting money were considered the

equivalent of “star quarterbacks” and thus could use their “power on campus” to

push back against compliance with federal cybersecurity rules.




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      12.   One such researcher is Emmanouil (Manos) Antonakakis, who runs

the Astrolavos Lab at Georgia Tech and whose research focuses on cybersecurity.

Notwithstanding the application of federal cybersecurity requirements to the

Astrolavos Lab pursuant to a number of DoD contracts for which Dr. Antonakakis

and his lab performed work, in the face of resistance from Dr. Antonakakis,

Georgia Tech failed to enforce basic cybersecurity at the Astrolavos Lab.

      13.   Most notably, during the relevant time period, while the lab

possessed nonpublic and sensitive DoD information, including information that

was “For Official Use Only” (FOUO) or “Controlled Unclassified Information”

(CUI), the Astrolavos Lab failed to: (1) develop or implement a system security

plan outlining how it would protect from unauthorized disclosure covered

defense information in its possession; and (2) install, update, and run antivirus

software on servers, desktops, and laptops in the lab which had access to

nonpublic DoD information.

      14.   Additionally, in violation of the conditions of its contracts, and thus

conditions of their government funding, Georgia Tech and GTRC failed to: (1)

assess the system on which the Astrolavos Lab processed, stored, or transmitted

sensitive DoD data using DoD’s prescribed assessment methodology; and (2)

provide to DoD an accurate summary level score for the Astrolavos Lab to




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demonstrate the state of the lab’s compliance with applicable cybersecurity

regulations. This is because no such score existed for the lab.

      15.    Instead of calculating and providing to DoD an accurate score for the

Astrolavos Lab, Georgia Tech and GTRC provided DoD with a score for a

“campus-wide” IT system at Georgia Tech when no such campus-wide IT system

existed.

      16.    According to former Georgia Tech employees, the score reported to

DoD was for a “fictitious” or “virtual” environment that was a “construct” because

it was not “specifically associated to any active research at Georgia Tech.” In fact,

according to these employees, the score was “not actually describing something

that exists.” Most importantly for purposes of this action, the score was not for the

Astrolavos Lab, which had no score to report because it never calculated one.

      17.    Georgia Tech and GTRC knew that the “campus-wide” score that

they reported to DoD was false, and they were warned by a member of their own

senior leadership team—a now former general manager of GTRC, who also

previously served as the executive director of the office at Georgia Tech that

oversaw government contracting at Georgia Tech—that providing the campus-

wide score to DoD would be “misleading” or an outright “misrepresentation”

because the “government would just look [at the score] and think, oh, that’s their

overall score”—which it was not.


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      18.   Despite these warnings, Georgia Tech and GTRC submitted the false

score to DoD because, according to that former senior employee, “[t]hey wanted

the money” from DoD contracts, and, according to DoD regulations, posting the

score was a “condition of contract award.”

      19.   As detailed below, Defendants intentionally, knowingly, and

negligently induced DoD to enter into and retain contracts with them for which

they were not eligible under the false pretense that Defendants (i) would comply

with applicable cybersecurity regulations, and (ii) had provided an accurate score

for Georgia Tech’s entire campus, which applied to every research lab at Georgia

Tech with a relevant DoD contract, including the Astrolavos Lab. As alleged

herein, Defendants’ conduct gives rise to claims under the federal common law,

including for fraud and negligent misrepresentation, and the FCA.

      20.   As one former Georgia Tech employee explained, “based on the

overall culture at Georgia Tech,” Georgia Tech will only comply with applicable

rules such as the cybersecurity regulations at issue here “after an event has

happened”—such as “getting in trouble with the government.”

      21.   The United States brings this complaint-in-intervention against

Defendants to recover the damages that the United States has suffered, the ill-

gotten gains to Defendants, and applicable penalties because of Defendants’




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systematic noncompliance with federal cybersecurity regulations and false

statements to DoD.

                                  THE PARTIES

        22.   The United States brings this action on behalf of DoD, including the

U.S. Air Force (Air Force) and the Defense Advanced Research Projects Agency

(DARPA).

        23.   Relator Christopher Craig is a member of Georgia Tech’s

Cybersecurity Team with the title of Enterprise Security Architect. Craig has

worked at Georgia Tech since 2003 in a variety of technical and cybersecurity roles.

From 2017 until June 2022, Craig served as the Associate Director of Cybersecurity

at Georgia Tech. In this role, Craig managed all cybersecurity personnel at Georgia

Tech.

        24.   Relator Kyle Koza is a Georgia Tech graduate and former employee

at Georgia Tech. From 2011 until 2022, Koza worked on Georgia Tech’s

Cybersecurity Team, most recently as Principal Information Security Engineer

from 2017 until June 2022.

        25.   Georgia Tech is a research university and institute of technology

based in Atlanta, Georgia. Georgia Tech is part of the University System of Georgia

(USG), which is governed by the Board of Regents of the University System of

Georgia (Board of Regents). The Board of Regents is named as a defendant in this


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action as the governing body of Georgia Tech, whose conduct is at issue in this

matter.

      26.   GTRC is a Georgia non-profit corporation organized under the laws

of the state of Georgia. GTRC is based in Atlanta, Georgia. GTRC is governed by

its own Board of Trustees, the members of which are named or elected pursuant

to GTRC’s bylaws and articles of incorporation.

      27.   According to its website, GTRC is “the contracting entity for all

sponsored activities for colleges and other units at Georgia Tech,” with the

exception of the Georgia Tech Research Institute (GTRI).

      28.   The relationship between GTRC and Georgia Tech is defined, in part,

by a Memorandum of Understanding executed by those parties on April 1, 1953.

According to GTRC’s website, pursuant to that agreement: “GTRC contracts and

is paid for the research done at Georgia Tech, paying Georgia Tech for all direct

costs and 78.3 percent of the overhead. The 21.7 percent of the overhead retained

by GTRC are used to establish reserves for the research program and to pay certain

expenses that Georgia Tech cannot pay.”

      29.   Accordingly, as a general matter, Georgia Tech itself does not directly

enter into contracts for research to be performed at Georgia Tech; instead, this is

done through GTRC, who then, pursuant to the Memorandum of Understanding,

subcontracts to Georgia Tech for the work to be performed pursuant to the


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relevant contract. Then Georgia Tech and GTRC split the proceeds from the

contract.

       30.      According to its website, Georgia Tech is a “University System of

Georgia-approved cooperative organization.” Pursuant to Section 6.17.2 of the

University System of Georgia Policy Manual, an entity may be a “cooperative

organization” to a USG institution like Georgia Tech “only if . . . the organization

is acting as a legal entity separate from the USG institution.” GTRC thus is a legal

entity separate from the USG and Georgia Tech, and, by definition, not a Georgia

state entity.

       31.      As the GTRC website makes clear, GTRC is an “individually

functioning entit[y] that operates separately” from Georgia Tech.

       32.      According to financial data published on its website, between fiscal

years 2019 and 2022, GTRC entered into more than $1.6 billion in government

contracts, primarily with the federal government and specifically DoD. In 2022

alone, GTRC entered into more than $423 million in government contracts,

primarily with the federal government and specifically DoD.

       33.      According to its publicly available financial statements, GTRC retains

hundreds of millions of dollars in cash and other assets, which reflect the proceeds

from its contracting primarily with the federal government, and especially DoD.




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                        OTHER RELEVANT ACTORS

      34.   Amongst the trustees for GTRC is Georgia Tech’s Vice President for

Research, Chaouki T. Abdallah, Ph.D., who also serves as the president of GTRC.

According to his profile on Georgia Tech’s website, as Vice President of Research

at Georgia Tech, Dr. Abdallah serves as the “chief research officer” for Georgia

Tech and oversees the “$1.45 billion annual research enterprise that includes

[GTRI], 10 interdisciplinary research institutes (IRIs), as well as economic

development, and related support units within Georgia Tech.”

      35.   In this position, Dr. Abdallah also oversees the Office of Sponsored

Programs (OSP) at Georgia Tech, which, along with GTRC, oversees government

contracting at Georgia Tech.

      36.   Robert Butera is the Chief Research Operations Officer at Georgia

Tech. He works under Dr. Abdallah in the Office of the Executive Vice President

for Research.

      37.   Until her retirement in 2022, Rebecca Caravati served as the general

manager of GTRC, and as the interim executive director of OSP. Caravati oversaw

government contracting at Georgia Tech and GTRC, including with respect to

those entities’ compliance obligations under federal rules and regulations

governing cybersecurity.




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      38.   Leo Howell is currently the Interim Vice President for Information

Technology at Georgia Tech. From September 2021 until June 2023, Howell served

as the Chief Information Security Officer (CISO) at Georgia Tech. In that role,

Howell was responsible for cybersecurity at Georgia Tech. Howell oversaw

Georgia Tech’s Cybersecurity Team, including Georgia Tech’s Governance, Risk,

and Compliance (GRC) Team.

      39.   From 2017 until February 2021, Anant (Jimmy) Lummis was the CISO

at Georgia Tech. Prior to that, Lummis was the Deputy CISO at Georgia Tech. Like

Howell, Lummis oversaw Georgia Tech’s Cybersecurity Team, including its GRC

Team. Lummis is currently a lecturer at Georgia Tech.

      40.   Blake Penn created, and from 2016 until 2021, led the GRC Team at

Georgia Tech. According to Penn, the “primary role” of the GRC Team is to ensure

“compliance with government and industry regulations that were cybersecurity-

related regulations.” Penn reported directly to Lummis.

      41.   Kyle Smith was a member of the GRC Team from 2016 until 2020, and

worked under Penn and Lummis.

      42.   Emmanouil (Manos) Antonakakis, Ph.D. is an Associate Professor in

the School of Electrical and Computer Engineering (ECE) and an adjunct faculty

member in the College of Computing (CoC) at Georgia Tech.




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      43.    Dr. Antonakakis is the co-director of the Center for Cyber Operations

Enquiry and Unconventional Sensing (COEUS) at Georgia Tech. Dr. Antonakakis

is also the sole director of the Astrolavos Lab at Georgia Tech, which is now under

the umbrella of COEUS. The research of the Astrolavos Lab is focused on

cybersecurity, including cyberattack attribution.

      44.    In connection with the Astrolavos Lab, Dr. Antonakakis, through

GTRC, was the principal investigator on contracts with DoD, specifically with the

Air Force and DARPA, that imposed cybersecurity requirements on Defendants,

and specifically the Astrolavos Lab, in connection with Dr. Antonakakis’s research

for DoD.

      45.    Since 2016, William Garrison has been the head of IT at the Astrolavos

Lab. Garrison oversees the computers, servers, and networks at the lab.

                            JURISDICTION & VENUE

      46.    This court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §§ 1331 and 1345 because this action is brought by the United

States as a plaintiff pursuant to the FCA and under federal common law.

      47.    Venue is proper in this jurisdiction under 31 U.S.C. § 3732(a) and 28

U.S.C. §§ 1391(b) and 1395(a). Defendants can be found in and/or have transacted

business in this district. Additionally, a substantial portion of the events that give

rise to the claims alleged herein occurred in this jurisdiction.


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                             LEGAL FRAMEWORK

      A.     The False Claims Act

      48.    Under the FCA, any “person” who:

             (A) knowingly presents, or causes to be presented, a false or
             fraudulent claim for payment or approval; [or]

             (B) knowingly makes, uses, or causes to be made or used, a false
             record or statement material to a false or fraudulent claim . . .
             is liable to the United States Government [for statutory
             damages and penalties].

31 U.S.C. §§ 3729(a)(1)(A)-(B).

      49.    “Claim” is defined in the FCA as:

             any request or demand, whether under a contract or otherwise,
             for money or property and whether or not the United States has
             title to the money or property, that— (i) is presented to an
             officer, employee, or agent of the United States; or (ii) is made
             to a contractor, grantee, or other recipient, if the money or
             property is to be spent or used on the Government’s behalf or
             to advance a Government program or interest, and if the United
             States Government— (I) provides or has provided any portion
             of the money or property requested or demanded; or (II) will
             reimburse such contractor, grantee, or other recipient for any
             portion of the money or property which is requested or
             demanded. . . .

31 U.S.C. § 3729(b)(2).

      50.    The FCA provides that “material” means “having a natural tendency

to influence, or be capable of influencing, the payment or receipt of money or

property.” 31 U.S.C. § 3729(b)(4).

      51.    The FCA further provides that “knowing” and “knowingly”:

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             (A) means that a person, with respect to information
              i. has actual knowledge of the information;
              ii. acts in deliberate ignorance of the truth or falsity of the
              information; or
              iii. acts in reckless disregard of the truth or falsity of the
              information; and
             (B) requires no proof of specific intent to defraud.

31 U.S.C. § 3729(b)(1).

      52.    Under the FCA, any person who is found to have violated the FCA

“is liable to the United States Government for a civil penalty of not less than $5,000

and not more than $10,000, as adjusted by the Federal Civil Penalties Inflation

Adjustment Act of 1990 . . . plus 3 times the amount of damages which the

Government sustains because of the act of that person.” 31 U.S.C. §§ 3729(a)(1).

      53.    The current level of civil penalties for violations of the FCA that are

assessed after February 12, 2024 is not less than $13,946 and not more than $27,894.

28 C.F.R. § 85.5. These penalties are subject to further adjustment pursuant to the

Federal Civil Penalties Inflation Adjustment Act of 1990.

      54.    The FCA further provides that “[a] person violating this subsection

shall also be liable to the United States Government for the costs of a civil action

brought to recover any such penalty or damages.” 31 U.S.C. § 3729(a)(3).




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         B.    Federal Cybersecurity Regulations

               (i)   DoD Regulations Mandate that Contractors Provide
                     “Adequate Security” for the Protection of Covered Defense
                     Information on Contractor IT Systems

         55.   Since 2013, DoD regulations have mandated that “[c]ontractors and

subcontractors” provide “adequate security” on their “covered contractor

information systems” to protect CUI that belongs to the government or is in the

contractors’ possession, including controlled technical information (CTI), present

on those systems (collectively, “Covered Defense Information”). 48 C.F.R. §

204.7302(a)(1) (effective Nov. 18, 2013) [Defense Federal Acquisition Regulation

Supplement (DFARS) 7302]; 48 C.F.R. § 252.204-7012 (effective Nov. 18, 2013)

(DFARS 7012). See also 48 C.F.R. § 252.204-7008(b) (effective Dec. 30, 2015) (DFARS

7008).

         56.   “’Covered contractor information system’ means an unclassified

information system that is owned, or operated by or for, a contractor and that

processes, stores, or transmits covered defense information.” DFARS 7012(a).

         57.   Covered Defense Information includes both CUI and CTI, which is

either provided to the contractor by DoD and is marked or otherwise identified by

DoD, or is “[c]ollected, developed, received, transmitted, used, or stored by” the

contractor in support of the contract, whether that information is marked as CUI

or CTI, or not. DFARS 7012(a).


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      58.   “’Controlled technical information’ means technical information with

military or space application that is subject to controls on the access, use,

reproduction, modification, performance, display, release, disclosure, or

dissemination.” DFARS 7012(a).

      59.   As directed by DFARS 7012(a), “Controlled technical information

would meet the criteria, if disseminated, for distribution statements B through F

using the criteria set forth in DoD Instruction 5230.24, Distribution Statements on

Technical Documents.” DoD Instruction 5230.24 directs that technical and other

information subject to Distribution Statements B through F are not designated for

public release absent further approval from the proper authority in the

government, and thus, by definition, are controlled technical information.

      60.   Under DFARS 7012(a), “’Technical information’ means technical data

or computer software. . . .” According to DFARS 7012(a): “Examples of technical

information include research and engineering data, engineering drawings, and

associated lists, specifications, standards, process sheets, manuals, technical

reports, technical orders, catalog-item identifications, data sets, studies and

analyses and related information, and computer software executable code and

source code.”




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      61.   Under DFARS 7012, a contractor must provide “adequate security”

under DFARS 7012 before it can process, store, or transmit Covered Defense

Information on its information system.

            (ii)   DoD Regulations Mandate that to Provide “Adequate
                   Security” Contractors Must Implement the 110 Controls under
                   NIST SP 800-171 or Plans of Action to Implement Those
                   Controls by December 31, 2017

      62.   Since October 2016, DoD regulations have mandated that “[t]o

provide adequate security, the Contractor shall implement, at a minimum . . . the

security requirements in National Institute of Standards and Technology (NIST)

Special Publication (SP) 800-171, ‘Protecting Controlled Unclassified Information

in Nonfederal Information Systems and Organizations’” that is “in effect at the

time the solicitation is issued. . . .” DFARS 7012(b)(2) (emphasis added).

      63.   For each security requirement that has not yet been implemented,

contractors are required to have a plan of action for implementing the controls,

along with a date by when the controls will be implemented. Contractors must

also actively work to implement those plans of action in a genuine effort to

implement all 110 controls.

      64.   DFARS 7012 further mandates that contractors “shall implement

NIST SP 800-171, as soon as practical, but not later than December 31, 2017.”

DFARS 7012(b)(2)(ii)(A).



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             (iii)    DoD Regulations Mandate that, as a Condition of Contract,
                      Contractors Must Certify Compliance with DFARS 7012 and
                      the Controls in NIST SP 800-171; Variances from These
                      Requirements Must be Approved by the DoD-CIO and the
                      Contracting Officer

      65.    At the time of contract, and as a condition of contract, pursuant to

DFARS 7008(c)(1), all contractors, by submission of their offers, certify and

represent that they will comply with DFARS 7012 and implement the controls

outlined in NIST SP 800-171.

      66.    Specifically, as directed by DFARS 7008(c)(1), “[b]y submission of this

offer, the Offeror represents that it will implement the security requirements

specified by National Institute of Standards and Technology (NIST) Special

Publication (SP) 800–171, ’Protecting Controlled Unclassified Information in

Nonfederal           Information     Systems       and       Organizations‘         (see

http://dx.doi.org/10.6028/NIST.SP.800–171) that are in effect at the time the

solicitation is issued or as authorized by the contracting officer not later than

December 31, 2017.”

      67.    Moreover, pursuant to DFARS 7008(c)(2)(i), “[i]f the Offeror proposes

to vary from any of the security requirements specified by NIST SP 800–171 that

are in effect at the time the solicitation is issued or as authorized by the Contracting

Officer, the Offeror shall submit to the Contracting Officer, for consideration by

the DoD Chief Information Officer (CIO), a written explanation of—(A) Why a


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particular security requirement is not applicable; or (B) How an alternative but

equally effective, security measure is used to compensate for the inability to satisfy

a particular requirement and achieve equivalent protection.”

      68.    DFARS 7012(b)(2)(ii)(B) similarly directs that: “The Contractor shall

submit requests to vary from NIST SP 800–171 in writing to the Contracting

Officer, for consideration by the DoD CIO. The Contractor need not implement

any security requirement adjudicated by an authorized representative of the DoD

CIO to be nonapplicable or to have an alternative, but equally effective, security

measure that may be implemented in its place.”

      69.    Pursuant to DFARS 7008(c)(2)(ii), “[a]n authorized representative of

the DoD CIO will adjudicate offeror requests to vary from NIST SP 800–171

requirements in writing prior to contract award. Any accepted variance from NIST

SP 800–171 shall be incorporated into the resulting contract.”

      70.    Absent approval by the DoD CIO of a variance from one of the NIST

SP 800-171 controls pursuant to a written request, the contractor is required to

implement the NIST SP 800-171 controls and certify or represent as part of the

contracting process that it has or will implement controls by December 31, 2017.

      71.    As explained in the Final Rule implementing DFARS 7008, “DFARS

provision 252.204-7008 serves as a notice to offerors. The provision puts the offeror

on notice that, when performance of the contract requires covered defense


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information on a covered contractor information system, the security

requirements in NIST SP 800-171 apply and must be implemented no later than

December 31, 2017.” 81 Fed. Reg. 72986, 72990 (Oct. 21, 2016) (emphasis added).

              (iv)   DoD Regulations Mandate that, as a Condition of Contract
                     Award, Prior to Entering into a Contract with a DoD Entity,
                     Contractors Must Submit an Accurate Summary Level Score for
                     Each and Every Covered Contractor System Relevant to the
                     DoD Contract

        72.   As a condition of contract, under multiple DoD regulations, since

December 2020, contractors are required at the time of contract award to have on

file with DoD, in its Supplier Performance Risk System (SPRS), a summary level

score that is not more than three years old, which provides DoD with a report of

the status of the contractors’ compliance with the 110 controls of NIST SP 800-171,

for “each covered contractor information system that is relevant to the offer,

contract, task order, or delivery order.” DFARS 7032(a)(2); 48 C.F.R. §252.204-

7019(b).

        73.   Thus, for contracts where the offeror is required to implement NIST

SP 800-171, the contracting officer is not permitted to award the contract to a

bidder who has not provided DoD with a summary level score for “each covered

contractor information system that is relevant to the offer [or] contract.” DFARS

7019.




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        74.   Significantly, as DoD has made clear, “[g]iven the size and scale of the

DIB sector, the Department cannot scale its organic cybersecurity assessment

capability to conduct on-site assessments of approximately 220,000 DoD

contractors every three years.” 85 Fed. Reg. 61505, 61509 (Sept. 29, 2020). Thus, it

is critical that contractors both (i) comply with federal cybersecurity regulations,

and (ii) accurately report the state of their compliance to DoD pursuant to DFARS

7019.

        75.   Most contractors’ summary level scores stem from self-assessment of

their implementation of the NIST SP 800-171 requirements on each of the relevant

covered contractor systems.

        76.   For a Basic Assessment, the contractor calculates a summary level

score pursuant to an Assessment Methodology developed by DoD. See NIST (SP)

800-171 Assessment Methodology version 1.2.1 (Jun. 24, 2020) (DoD Assessment

Methodology); DFARS 7302(a)(3). That methodology assigns a point value to each

security requirement which is weighted to account for the potential harm that

could result from it not being implemented. The score is calculated by deducting

from 110 (a perfect score reflecting implementation of all of the security

requirements) the value assigned to each unimplemented security requirement.




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            (v)    DoD Contractors Are Required to Create and Implement a
                   System Security Plan and Failure to Do So Constitutes
                   Indisputable Noncompliance with DFARS 7012

      77.   Since at least December 2016, NIST SP 800-171 Control (NIST Control)

3.12.4 has directed that a contractor: “Develop, document, and periodically update

system security plans that describe system boundaries, system environments of

operation, how security requirements are implemented, and the relationships with

or connections to other systems.”

      78.   Without a system security plan, a contractor cannot calculate a score

to be reported in SPRS.

      79.   Thus, according to the DoD Assessment Methodology, “[t]he absence

of a system security plan would result in a finding that ‘an assessment could not

be completed due to incomplete information and noncompliance with DFARS

clause 252.204-7012.” (emphasis added)

      80.   The requirement of a system security plan is so basic that pre-

December 2016 versions of NIST SP 800-171 identified a system security plan as

something that the federal government: “EXPECTED TO BE ROUTINELY

SATISFIED         BY      NONFEDERAL         ORGANIZATIONS             WITHOUT

SPECIFICATION.”

      81.   Since at least June 2015, NIST Controls 3.12.1 and 3.12.3 respectively

have directed contractors to (1) periodically assess their information security


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controls to determine if they are effective and (2) monitor the security controls to

ensure their continued effectiveness.

      82.    Reflecting their significance, the Scoring Template that is attached as

Annex A to the DoD Assessment Methodology provides NIST Controls 3.12.1 and

3.12.3 with point values of 5, reflecting that “if not implemented, [the absence of

each control] could lead to significant exploitation of the network, or exfiltration

of DoD CUI.” (emphasis added)

      83.    The Scoring Template provides NIST Control 3.12.2 (put in place

plans of action to comply with security controls) with a point value of 3, reflecting

that “if not implemented, [the absence of the control would] have a specific and

confined effect on the security of the network and its data.”

      84.    With respect to NIST Control 3.12.4, which directs the development

and implementation of a system security plan, the Scoring Template provides no

point value. This is because “[t]he absence of a system security plan would result

in a finding that ‘an assessment could not be completed due to incomplete

information and noncompliance with DFARS clause 252.204-7012.’”

             (vi)   Federal Contractors are Required to Install, Run, and Update
                    Antivirus and Incident Detection Software

      85.    NIST Control Family 3.14 is primarily focused on preventing the

infiltration of malicious code in covered contractor systems. NIST SP 800-171

defines malicious code as: “Software or firmware intended to perform an

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unauthorized process that will have adverse impact on the confidentiality,

integrity, or availability of a system. A virus, worm, Trojan horse, or other code-

based entity that infects a host. Spyware and some forms of adware are also

examples of malicious code.”

      86.    The primary controls in this family are NIST Controls 3.14.2, 3.14.4,

and 3.14.5, which collectively require contractors to install, update, and run

antivirus and incident detection software. Specifically, NIST Controls 3.14.2,

3.14.4, and 3.14.5 direct contractors to (1) “Provide protection from malicious code

at designated locations within organizational systems”; (2) “Update malicious

code protection mechanisms when new releases are available”; and (3) “Perform

periodic scans of organizational systems and real-time scans of files from external

sources as files are downloaded, opened, or executed.”

      87.    Each of the NIST Controls contains a “discussion” providing further

explanation of the control. The discussions to NIST Controls 3.14.2, 3.14.4, and

3.14.5 specifically refer to antivirus software, with the discussion for the first two

controls explaining that “[m]alicious code protection mechanisms include anti-

virus signature definitions and reputation-based technologies,” and the discussion

for 3.14.5 stating that “[p]eriodic scans of organizational systems and real-time

scans of files from external sources can detect malicious code.” (emphasis added)




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      88.    The discussion to NIST Control 3.14.2 refers to NIST Special

Publication 800-83, Guide to Malware Incident Prevention and Handling for Desktops

and Laptops (July 2013), indicating that the publication “provides guidance on

malware incident prevention.” NIST SP 800-83 directs that “organizations should

deploy antivirus software on all hosts for which satisfactory antivirus software is

available.” NIST SP 800-83 at viii (emphasis added).

      89.    NIST Control 3.14.1 requires that contractors: “Identify, report, and

correct system flaws in a timely manner.” The discussion to NIST Control 3.14.1

explains that the control requires contractors to “identify systems that are affected

by announced software and firmware flaws including potential vulnerabilities

resulting from those flaws” and then run “[s]ecurity-relevant updates includ[ing]

. . . anti-virus signatures.” (emphasis added)

      90.    The Scoring Template attached to DoD’s Assessment Methodology

provides NIST Controls 3.14.1, 3.14.2, and 3.14.4 with point values of 5, reflecting

that “if not implemented, [the absence of any one of these controls] could lead to

significant exploitation of the network, or exfiltration of DoD CUI.” NIST Control

3.14.5 is given a point value of 3 because failure to implement it would “have a

specific and confined effect on the security of the network.”

      91.    Additionally, the Scoring Template notes that NIST Controls 3.14.1,

3.14.2, 3.14.4, and 3.14.5 are: “Basic safeguarding requirements and procedures to

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protect covered contractor information systems per Federal Acquisition

Regulation (FAR) clause 52.204-21, Basic Safeguarding of Covered Contractor

Information Systems.”

      92.   FAR 52.204-21 imposes certain “basic safeguarding requirements and

procedures to protect covered contractor information systems,” which are defined

to include any contractor information systems that process, store, or transmit

federal contract information, which is “information, not intended for public

release, that is provided by or generated for the Government under a contract to

develop or deliver a product or service to the Government, but not including

information provided by the Government to the public (such as on public Web

sites) or simple transactional information, such as necessary to process payments.”

48 C.F.R. § 52.204–21.

      93.   FAR 52.204-21 broadly applies to all government contractors, not just

DoD contractors. Moreover, unlike DFARS 7012, FAR 52.204-21 does not require

the presence of Covered Defense Information, just government information that is

not intended for public release.

      94.   As the final rule enacting this provision explained, “[t]he intent is that

the scope and applicability of this rule be very broad, because this rule requires

only the most basic level of safeguarding.” 81 Fed. Reg. 30439, 30441 (May 15,

2016). As the final rule further explained, “[a] prudent business person would


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employ this most basic level of safeguarding, even if not covered by this rule. This

rule is intended to provide a basic set of protections for all Federal contract

information . . . .” 81 Fed. Reg. at 30441.

        95.     Amongst the “basic safeguards” required by FAR 52.204-21 are the

following antivirus requirements that match up precisely to NIST Controls 3.14.1,

3.14.2, 3.14.4, and 3.14.5:

        (xii) Identify, report, and correct information and information system
        flaws in a timely manner.
        (xiii) Provide protection from malicious code at appropriate locations
        within organizational information systems.
        (xiv) Update malicious code protection mechanisms when new
        releases are available.
        (xv) Perform periodic scans of the information system and real-time
        scans of files from external sources as files are downloaded, opened,
        or executed.

        96.     Both the proposed and final rules that enacted FAR 52.204-21 made

clear that the provision requires contractors to install, run, and update antivirus

software throughout covered contractor IT systems.

                              FACTUAL ALLEGATIONS

   I.         Background – Defendants’ DoD Contracts and False Claims to DoD

        97.     Through GTRC, Georgia Tech has entered into billions of dollars in

federal government contracts over the years, primarily with DoD.

        98.     GTRC enters into government contracts with DoD as the prime

contractor, and then subcontracts the work to be performed at the Resident

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Instruction (RI) side of Georgia Tech (which includes the academic part of Georgia

Tech). The monies paid by the government pursuant to those contracts are split

between Georgia Tech and GTRC, with GTRC retaining a significant portion of the

monies that it receives from the government on its balance sheets from year to

year.

        99.    Where the work pursuant to a government contract is to be performed

at RI, it is typically performed by teams at specific research labs at Georgia Tech

which are led by Georgia Tech faculty members who act as the “principal

investigators” for the relevant contracts. A principal investigator is a key person

under a government contract who is responsible for overseeing the work on the

contract and delivering the final product to the government.

        100.   One such research lab is the Astrolavos Lab, which is led by Dr.

Manos Antonakakis. Since 2016, the Astrolavos Lab has entered into a series of

DoD contracts, principally with the Air Force and DARPA.

        101.   As detailed below, the key DFARS cybersecurity clauses, DFARS

7302, 7008, 7012, 7019, 7020, as well as FAR 52.204-21, applied to at least two of the

DoD contracts for which the Astrolavos Lab performed work and Dr. Antonakakis

served as the principal investigator.




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      A.     Air Force Contract FA8750-17-C-0016 (EA)

      102.   The first contract for which Dr. Antonakakis acted as principal

investigator for work performed at the Astrolavos Lab is the “Rhamnousia:

Attributing Cyber Actors Through Tensor Decomposition” contract between

GTRC and the Air Force, executed on November 17, 2016. The Astrolavos Lab

performed work on this contract from December 2016 until the end of 2021.

      103.   The contract, which is referred to as “EA” or the “EA Contract,” is

identified by contract number FA8750-17-C-0016. At Georgia Tech, the internal

contract numbers for EA were AWD-101187/GT10002480. The EA Contract was a

joint effort between the Air Force and DARPA.

      104.   According to the solicitation for the EA Contract, the goal of the EA

project was to develop enhanced attribution technology to permit the Air Force to

identify parties behind cyberattacks.

      105.   The solicitation made clear that the program would have classified

and non-classified elements and that DFARS 7012 applied.

      106.   Specifically, the EA solicitation included the following language

specifying that DFARS 7012 would apply to the EA Contract: “Per DFARS

204.7304, DFARS 252.204-7012, ‘Safeguarding of Covered Defense Information

and Cyber Incident Reporting;’ applies to this solicitation and all FAR-based

awards resulting from this solicitation.”


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      107.   The EA solicitation also warned that contractors would need to

protect “DARPA CUI,” including by refraining from processing DARPA CUI on

“publicly available computers” or posting “DARPA CUI to publicly available

webpages or website,” and to “ensure that DARPA CUI on mobile computing

devices is identified and encrypted and all communications on mobile devices or

through wireless connections are protected and encrypted.”

      108.   Consistent with this, the EA Contract itself incorporated FAR 52.204-

21 by reference, and included the full text of DFARS 7012.

      109.   By the explicit terms of the EA Contract, the EA program involved

“military applications” and export controls. In the section marked “Export

Controls,” the EA Contract specifically stated that: “The items to be delivered

under this contract are being developed for both civil and military applications.”

      110.   This is consistent with the EA solicitation which warned that “all

contracts, other transactions and other awards . . . resultant from this solicitation

will include the DFARS Export Control clause.”

      111.   The October 31, 2016 award letter included the full text of DFARS

7008, which mandates that “[b]y submission of this offer, the Offeror represents

that it will implement the security requirements specified by [NIST SP 800-171] . .

. not later than December 31, 2017.”




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      112.   In reference to the text of DFARS 7008, the award letter indicated that

“[a] reply to this provision is only required if additional time is needed to

implement the derived security requirement identified in para (c) below [referring

to NIST SP 800-171], or if a deviation from security requirements in the National

Institute of Standards and Technology (NIST) Special Publication (SP) 800-171 is

proposed.” The Air Force relied on GTRC’s representation pursuant to DFARS

7008 in entering in the EA Contract with GTRC.

      113.   The Contract Data Requirements List attached to the EA Contract

indicated that Distribution Statement F applied, stating: “DISTRIBUTION

STATEMENT F: FURTHER DISSEMINATION ONLY AS DIRECTED BY

AFRL/RIGB, ROME, NY 13441.” This indicated that the contract would involve

CTI, and thus Covered Defense Information. See DFARS 7012(a).

      114.   Attached to the EA Contract was a completed version of Department

of Defense Form 254, known as a DD254, which provides information regarding

“Contract Security Classification[s].”

      115.   The DD254 for the EA Contract indicated that the “contractor” would

receive both “classified and unclassified information,” up to the level of “Top

Secret.” This included information that was “for official use only,” which is a

legacy term for a type of controlled unclassified information that has now largely

been replaced by the CUI designation.


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      116.   The DD254 also included the following restriction on the public

release of information related to the EA Contract: “No information, except as

provided in applicable U.S. Statutes, which is classified or unclassified shall be

released for public dissemination without prior written approval of DARPA.”

      117.   The EA Contract also had a Security Classification Guide (CG), which

itself was marked Distribution Statement D. The CG reiterated the publication

restrictions in the EA Contract applicable to unclassified information, warning

that: “The fact that this CG shows certain details of unclassified information does

not authorize automatic public release. Proposed public disclosures of unclassified

information regarding all DARPA efforts shall be processed in accordance with

(IAW) the current DD Form 254.”

      118.   The CG then went on to describe a number of categories of technical

documents as FOUO or, in certain circumstances, classified. The FOUO

designation applied, at minimum, to information about the “association of

contractors and/or subcontractors” to the “contracting agent” or “DARPA.” It also

applied to “technical details of specific, persistent vulnerabilities of system under

development.”

      119.   Among categories marked as potentially classified were “association

of contractors and/or subcontractors” with other government agencies, and

“actual, simulated, or synthesized data used for testing EA capabilities.”


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According to the CG, this technical information, whether classified or unclassified,

involved “scientific, technological, or economic matters relating to national

security.”

      120.   Given the publication restrictions, the application of Distribution

Statement F, as well as the presence of information that was marked FOUO or CUI,

the EA Contract necessarily involved Covered Defense Information, including

both CUI and CT, as warned in the EA solicitation. Thus, the Astrolavos Lab was

required to comply with the cybersecurity requirements from the FAR and

DFARS, including DFARS 7012 and FAR 52.204-21, before it could process, store,

or transmit that Covered Defense Information and Federal Contract Information

on its information systems.

      121.   Defendants processed, stored or transmitted Covered Defense

Information during their performance of work on the EA contract, and this work

included multiple documents marked as FOUO or CUI. This fact is confirmed by

Defendants’ admissions, which are detailed below.

      B.     DARPA Contract #HR001123C0035 (Smoke)

      122.   Dr. Antonakakis served as the principal investigator for work

performed at the Astrolavos Lab with respect to a second contract with DARPA

titled “Antikythera: A Novel Framework to Assess, Statistically Model and Evade

CYB” with contract number HR001123C0035. The contract is referred to as


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“Smoke” or the “Smoke Contract.” The lab began work on this contract in October

2022, which is ongoing as of now.

      123.   According to the solicitation, the purpose of the Smoke program is to

“develop tools to automate the planning and deployment of threat emulated,

attribution-aware cyber infrastructure.”

      124.   The Smoke solicitation incorporated DFARS 7012 and 7008. It also

noted that “all proposers are required to submit for all award instrument types

supplementary DARPA-specific representations and certifications at the time of

proposal submission.” The DARPA-specific representations and certifications

include representations and certifications in connection with DFARS 7019.

      125.   Accordingly, on July 20, 2022, in connection with GTRC’s bid for the

Smoke Contract, GTRC executed DARPA’s standard form “Representations,

Certifications and Other Statements of Offerors,” which included a certification

and representation by GTRC of compliance with DFARS 7019, the full text of

which was written out in the document. The certification was signed by “Ashley

Smith, Assistant to Vice President, Georgia Tech Research Corporation” who was

identified as the person “signifying accuracy and completeness of the above

representations and Certifications.”




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      126.   DARPA relied on these representations and certifications, as well as

the fact that GTRC had posted a summary level score for the Georgia Tech campus,

in entering into the Smoke Contract and its associated modifications with GTRC.

      127.   GTRC and DARPA first entered into the Smoke Contract on October

5, 2022. The original Smoke Contract called for the Astrolavos Lab to only perform

fundamental research, which would not be subject to any publication restrictions.

However, even before execution of the contract, the Astrolavos Lab asked to have

access to certain Covered Defense Information, so the parties immediately

amended the Smoke Contract on November 7, 2022.

      128.   The modified Smoke Contract, which became effective on November

7, 2022, amended the statement of work for the contract to “add[] Non-

Fundamental Research Tasks” along with “Non-Fundamental Research DFARS

and FAR clauses.” The DFARS clauses that were explicitly added to the contract

included DFARS 7012 (adequate security) and DFARS 7020 (summary level score).

      129.   The original Smoke Contract incorporated FAR 52.204-21 (as well as

DFARS 7012 and 7020). Moreover, pursuant to DFARS 7008, GTRC and Georgia

Tech made the following certification to DARPA at the time of bidding: “[b]y

submission of this offer, the Offeror represents that it will implement the security

requirements specified by [NIST SP 800-171] . . . not later than December 31, 2017.”




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      130.   Additionally, on September 27, 2022—just over a week before the

parties executed the original Smoke Contract on October 5, 2022—DARPA

executed the original DD254 for the Smoke Contract. The DD254 for the Smoke

Contract indicated that “The CONTRACTOR WILL . . . RECEIVE, STORE, OR

GENERATE CONTROLLED UNCLASSIFIED INFORMATION (CUI)” and “The

Performer will protect CUI.”

      131.   DARPA executed a revised DD254 for the Smoke Contract on August

23, 2023. The provisions cited above did not change in the revised document. The

Smoke Contract was modified by the parties on September 23, 2023 to incorporate

the revised DD254.

      132.   With respect to public release of information related to the Smoke

Contract, the DD254 stated that: “The contractor will not release any information

(Classified or Unclassified) without prior written approval of the public release

authority, except as provided in applicable U.S. Statutes.”

      133.   Given this publication restriction, and the clear statement in both the

DD254 and the contract modification that the contractor would receive or develop

CUI in connection with the contract, the Smoke Contract necessarily involved

Federal Contract Information and Covered Defense Information. Defendants

processed, stored, or transmitted Covered Defense Information during their

performance of work on the Smoke Contract and this work included multiple


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documents marked CUI. Thus, the cybersecurity requirements from the FAR and

DFARS, including DFARS 7008 and 7012, as well as FAR 52.204-21, applied to the

Smoke Contract.

         134.   GTRC and Georgia Tech did not tell DARPA of their intention not to

comply with federal cybersecurity rules and regulations as required by the

contract, DFARS 7302, 7008, 7012, 7019, 7020, and FAR 52.204-21, amongst other

provisions.

   II.      Georgia Tech’s Own Documents and Testimony Confirm the
            Astrolavos Lab Possessed Covered Defense Information for Work on
            its DoD Contracts.

         135.   As demonstrated by Georgia Tech’s own documents and testimony,

the Astrolavos Lab possessed Covered Defense Information in connection with the

EA Contract and the Smoke Contract (collectively, the “Astrolavos Lab

Contracts”).

         136.   As a threshold matter, Dr. Antonakakis admitted in sworn testimony

that all the work that he and his colleagues performed for the Astrolavos Lab

Contracts occurred in the Astrolavos Lab and on their computer systems. Dr.

Antonakakis also admitted in writing and during sworn testimony to handling

documents in his lab that were subject to Distribution Statement F, which denotes

the presence of CTI, which is Covered Defense Information.




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      137.   For example, in a November 22, 2019 email, Dr. Antonakakis wrote

that “my slides for EA are at the UNCLASSIFIED//DISTRIBUTION F level.” He

explained that this meant that others “*should not* have access to the[m] without

explicit permission from DARPA and/or AFRL.” Dr. Antonakakis further

explained: “To give you an idea, I do not even email the slides to anyone.”

      138.   To eliminate any confusion on the point, in a separate email from

November 22, 2019, Dr. Antonakakis wrote: “Let me [be] crystal clear. I cannot

give access to the slide decks to anyone but the PM team at DARPA or the AFRL

contracting officer.”

      139.   Consistent with this, during sworn testimony, Dr. Antonakakis

testified that “[s]ometimes DARPA would effectively ask [him] in some of [his]

presentations to mark them as Distribution Statement F.” William Garrison, the

head of IT at the Astrolavos Lab testified similarly, explaining: “presentations that

[Dr. Antonakakis] had given on his laptop would be considered CUI.”

      140.   Dr. Antonakakis in fact created presentations that he provided to

DARPA that were marked Distribution Statement F and included Covered

Defense Information. For example, a May 28, 2019 presentation to DARPA from

Dr. Antonakakis was marked with Distribution Statement F. Below is the cover

page to that presentation, which itself does not contain Covered Defense

Information (although the rest of the presentation does).


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      141.   Dr. Antonakakis’s final report to DoD pursuant to the EA Contract

included Covered Defense Information. Once it was in the possession of the Air

Force, DoD marked the report as “CUI” on the basis that the information in the

report was “Critical Technology” that was “Export Controlled.” DoD further

applied Distribution Statement D, restricting distribution of the report to the

“Department of Defense and U.S. DoD Contractors only.” DoD stores the

presentation on a system designed to protect Covered Defense Information.

      142.   Attached to the report is a “Form 298” which is a “Report

Documentation” cover page that was filled out by Dr. Antonakakis. Form 298 has

a section titled “Distribution/Availability Statement.” In that section, Dr.

Antonakakis indicated with respect to his report that “Distribution Authorized to

Department of Defense and U.S. DoD contractors only” and that the report

described “Critical Technology” including “Software Documentation” that is

subject to “Export Control.”

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      143.   Other Georgia Tech documents further confirm the presence of

Covered Defense Information throughout the lab. In late 2021, Garrison was

tasked by Dr. Antonakakis to “mak[e] sure that CUI data related to EA is removed

from our servers.” This is around the time that the EA Contract was ending.

Garrison exchanged a number of instant messages with his colleagues regarding

the abundance of CUI present at the lab.

      144.   In one instant message, one of the student researchers at the lab

explained to Garrison that deleting all the CUI was “not an easy task” because “I

have a shit ton” of EA CUI on various servers.

      145.   Garrison’s communications indicate that a number of people at the

lab in addition to Dr. Antonakakis worked with EA CUI. In one instant message,

one of Garrison’s colleagues referred to the need to give Dr. Antonakakis a “heads

up” before they deleted CUI on a particular “box” because “it was mainly a Manos

box and had a lot of EA cui.”

      146.   The instant messages further indicate that Garrison indeed deleted

EA CUI from a number of workstations and servers, directing researchers in the

lab to “mark their non cui directories” so those directories would not inadvertently

be deleted in the process.




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      147.   In fact, in a January 14, 2022 instant message, Garrison identified eight

different “hosts we need approval to wipe/sanitize, based on the notes I have of

which boxes have EA CUI data on them.”

      148.   In a separate instant message with Michael Mitchell from March 11,

2022, Garrison asked Mitchell: “Do you happen to know if SMOKE involves CUI

at all?” Mitchell responds: “I believe that everything from this point forward will

include CUI.” In response, Garrison wrote: “Gotcha. The plan is to segment things

that require CUI compliance . . . .” In an April 5, 2022 instant message, Garrison

again told Mitchell he knew that the Smoke Contract “would require CUI

compliance.”

      149.   Additionally, in a series of instant messages from September 26,

2022—a little over a week before the Smoke Contract was executed, and the day

before the original DD254 for that project was executed—Garrison and a student

researcher discussed the need to create CUI only servers for the Smoke project.

      150.   Dr. Antonakakis created a presentation to DARPA in connection

with the Smoke kickoff meeting. At least four pages of Dr. Antonakakis’s

presentation contain the following marking indicating that, according to Dr.

Antonakakis, the slide contained CUI:




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   III.   Defendants Knowingly Violated Federal Cybersecurity
          Requirements and Fraudulently and Negligently Induced DoD to
          Enter into and Retain Defense Contracts with Them.

      151.   In connection at least with the Astrolavos Lab Contracts, beginning at

least as early as May 2019 with respect to the EA Contract and November 2022

with respect to the Smoke Contract, Defendants violated applicable federal

cybersecurity rules and regulations.

      152.   Specifically, in violation of DFARS 7012, 7008, 7302, with respect to

the Astrolavos Lab, GTRC recklessly failed for multiple years to provide

“adequate security” for covered contracting systems relevant to the Astrolavos

Lab Contracts by, at the minimum, knowingly failing to (1) develop, document,

implement, and periodically update system security plans and associated NIST SP

800-171 security controls for the covered contracting systems at the Astrolavos

Lab, and (2) install, update, and run antivirus and incident detection software

throughout the covered contracting systems at the Astrolavos Lab.

      153.   Additionally, in violation of DFARS 7019 and DFARS 7020, with

respect to the Astrolavos Lab, GTRC failed to submit a summary level score for

any covered contractor system “relevant” to the Astrolavos Lab Contracts. Rather,

Georgia Tech and GTRC intentionally, knowingly, and negligently submitted an

“enterprise” summary level score for the Georgia Tech campus that was (i) not

applicable to the Astrolavos Lab, and, in any event, was for a (ii) “fictitious” or


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“virtual” environment that did not “exist,” which was a “construct” and not

“specifically associated to any active research at Georgia Tech.”

      154.   Thus, pursuant to DFARS 7019 and DFARS 7302, as of December

2020, the Astrolavos Lab was not eligible for any DoD contracts and thus not

lawfully eligible to be paid pursuant to any such contracts. Moreover, GTRC’s

certifications and representations of compliance with DFARS 7019 in connection

with DoD contracts, including the Smoke Contract, were false.

      A.     For Years, the Astrolavos Lab Had No System Security Plan.

      155.   By their own admission, Georgia Tech and GTRC did not implement

a system security plan at the Astrolavos Lab until February 2020. This is more than

three years after the lab began work on the EA Contract in late 2016, and more

than two years after the December 31, 2017 deadline for Defendants to implement

NIST SP 800-171 on all systems they were using to process, store, or transmit

Covered Defense Information.

      156.   At no point did Defendants inform DoD that the Astrolavos Lab did

not have a system security plan.

      157.   According to Kyle Smith, the member of the GRC Team who drafted

the lab’s February 2020 system security plan (the “Astrolavos Lab 2020 SSP”), “this

[was] the first lab-wide security plan for the Astrolavos Lab.” William Garrison,




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the head of IT at the Astrolavos Lab, agreed, admitting that “prior to February 18,

2020, the lab did not have a system security plan put in place.”

      158.   This means that in addition to not having a system security plan in

place until February 2020, in violation of NIST Control 3.13.4, for this same period,

the Astrolavos Lab had taken no action to implement, assess, or monitor the

required NIST Security Controls for the lab, much less put in place any required

plans of action to address deficiencies. This violates NIST Controls 3.12.1 (assess

security controls), 3.12.3 (monitor security controls), and 3.12.2 (put in place plans

of action to comply with security controls).

      159.   Defendants knew that they were required to develop and implement

a system security plan for the EA Contract. In an August 8, 2019 email from

Rebecca Caravati, on which Dr. Antonakakis was copied, Caravati wrote that

“Manos also needs an SSP for AWD-101187/GT10002480,” which refers to the EA

Contract.

      160.   The failure to develop and implement a system security plan in

connection with a DoD contract that required one was not unusual at Georgia Tech

during this period. As Blake Penn, the head of the GRC team at the time, testified,

for a substantial period there was “no enforcement” of the cybersecurity

requirements at Georgia Tech, including the requirement for a system security

plan. According to Penn, this was the case for at least a “couple of years.”


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      161.   Significantly, according to Smith, who drafted the Astrolavos Lab

2020 SSP, which purported to be a “lab-wide” system security plan, the scope of

the Astrolavos Lab 2020 SSP did not include most of the desktops and laptops in

the lab. Rather, at the direction of Garrison and others at the Astrolavos Lab, the

scope was limited to the servers in the lab as well what is described in the

Astrolavos Lab 2020 SSP as a personal laptop belonging to Dr. Antonakakis,

which, according to the lab, would possess CUI, such as presentations to DARPA.

      162.   As Smith explained, by not protecting desktops and laptops that

access servers with Covered Defense Information you “increase [the] risk” of a

breach “if, for example, there were any screen grabbing software or anything along

those lines, someone could take control of that system and be able to view the data

that the person is remoting in to see.”

      163.   In sworn testimony, Garrison admitted that it “wasn’t correct” to

exclude from the system security plan “endpoints”—such as desktops and

laptops—that “would remotely connect” to servers in the lab, which he described

as a “scoping problem.”

      164.   Since February 2020, the Astrolavos Lab 2020 SSP was updated only

once, in July 2020, when the names of additional members at the lab were added

to the roster of individuals involved in the work for the relevant DoD contracts.

The updates were non-substantive, and according to Garrison, the July 2020


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system security plan was effectively a “continuation” of the original one from

February 2020.

      165.    NIST Control 3.12.4 requires that system security plans be updated

“periodically.” According to both Smith and Leo Howell, Georgia Tech’s most

recent Chief Information Security Officer, Georgia Tech has interpreted this

provision to require “yearly” updates of lab-wide system security plans.

      166.    For his part, Smith agreed that failure to update a lab-wide system

security plan “would be noncompliance” with NIST Control 3.12.4, the “same way

the failure to create an SSP in the first place is not in compliance.”

      167.    This is consistent with guidance from NIST, which directs that to

properly assess compliance with NIST Control 3.12.4, the assessor should confirm

that (1) “a frequency to update the system security plan is defined” and (2) the

“system security plan is updated with the defined frequency.” NIST Special

Publication    800-171A,   Assessing     Security     Requirements     for   Controlled

Unclassified Information (Jun. 2018) (NIST SP 800-171A) at 52.

      168.    On August 18, 2023, Georgia Tech implemented what it calls a

Fundamental Research Exception SSP (“FRE SSP”) at the Astrolavos Lab with

respect to the Smoke Contract, in which Dr. Antonakakis specifically attested that

the Smoke Contract “does not contain CUI” and agreed, pursuant to his signature




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on the document indicating his approval of the FRE SSP, that the contract has no

publication restrictions and all technical deliverables are marked Distribution A.

      169.   This was (i) nine months after GTRC and DARPA executed the

modification of the Smoke Contract to include “non-fundamental research” tasks

that would involve “Controlled Unclassified Information (CUI)” and require

compliance with DFARS 7012 and 7020; (ii) ten months after DARPA issued the

original DD254 for the Smoke Contract which affirmed that the contractor would

“receive, store or generate controlled unclassified information (CUI)” and

imposed a publication restriction as to all “Classified or Unclassified” information

associated with the contract that is the equivalent of Distribution Statement F; and

(iii) the same month that DARPA issued the revised DD254 for the Smoke Contract

that contained the same provisions.

      170.   Dr. Antonakakis’s attestation in the FRE SSP for the Smoke Contract

was thus false, which was known to him, Georgia Tech, and GTRC at the time. In

reality, as of November 2022, in connection with the Smoke Contract, the

Astrolavos Lab was required to have a system security plan in place that was

compliant with NIST Control 3.12.4.

      171.   The August 2023 FRE SSP does not qualify because it is not an actual

system security plan. Neither does the Astrolavos Lab 2020 SSP because it has not

been updated or reevaluated in any substantive way since February 2020.


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      172.   Thus, in the period since November 2022, after the Smoke Contract

modifications went into effect, the Astrolavos Lab has had no NIST compliant

system security plan developed or implemented at the lab.

      173.   Accordingly, GTRC and Georgia Tech knowingly failed to develop

and implement any kind of system security plan in the Astrolavos Lab until

September 2019, when the Astrolavos Lab began its efforts to create a system

security plan.

      174.   Additionally, Defendants knowingly excluded from the scope of the

Astrolavos Lab SSP virtually all laptops and desktops in the lab, all of which

regularly accessed the lab’s servers which contained Controlled Defense

Information. Thus, with respect to those covered contractor systems, the

Astrolavos Lab never had a system security plan or security controls in place.

      B.     For Years, the Astrolavos Lab Failed to Install, Update, or Run
             Antivirus or Incident Detection Software on Endpoints, Servers, or
             its Network.

      175.   From at least 2016 when the Astrolavos Lab was started until

December 2021, the Astrolavos Lab admittedly failed to systematically install,

update, or run antivirus software on endpoints, such as desktops and laptops,

servers, or the network on which the lab operates.       The network and these

endpoints were used to process, store, and transmit Covered Defense Information

and/or Federal Contract Information.


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      176.   Garrison, the Astrolavos Lab’s head of IT, testified that as a general

matter the Astrolavos Lab did not install, update, or run antivirus software on

desktops, laptops, or servers at the lab. To the extent that some of the laptops or

desktops might have had antivirus software installed on them, this was because

those devices came with the antivirus software preinstalled. There was no

requirement at the lab that the preinstalled antivirus software on those devices be

run or updated.

      177.   Garrison testified that, during the lengthy multi-year period that the

lab did not install, update, or run antivirus on its own machinery, he had believed

that Georgia Tech employed antivirus on Georgia Tech’s network, which the lab

used. Garrison admitted, however, that this assumption was incorrect and that he

later learned that the Georgia Tech network in fact never provided any such

antivirus protection.

      178.   As Garrison testified, he learned that the “feature was not turned on

or available”; and, thus, Garrison agreed that “the entire time . . . until December

of 2021 . . . the firewall [on Georgia Tech’s network] was . . . not running antivirus.”

There is no indication that the network employed antivirus prior to February 2020

either.

      179.   In any event, even if such antivirus software had been employed on

Georgia Tech’s network (which it was not), it would not have provided the


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Astrolavos Lab sufficient protection from outside threats. This is because the lab

permitted researchers to remove laptops from the lab and use them on

unprotected networks outside of the lab.

      180.   Thus, even if Georgia Tech’s network had provided antivirus

detection at the lab for internet traffic entering the lab through that network (which

it did not), this would not have provided protection from malicious code entering

the lab through these unprotected laptops. This is particularly the case given that

those laptops and desktops were not scoped into the Astrolavos Lab SSP, and thus

were not subject to other important mandated cybersecurity protections, like

required passcodes, two-factor authentication, and mandatory logging.

      181.   NIST Control 3.14.2 requires that antivirus software be installed

throughout an IT environment, including “on various types of hosts, including

workstations, servers, mobile computing devices, firewalls, email servers, web

servers, and remote access servers.”

      182.   At no point did Defendants inform DoD that the Astrolavos Lab was

not running antivirus software, or seek or obtain permission from the DoD CIO to

not satisfy this requirement or put in place an alternative to it.

      183.   Smith testified that in 2019, when he first began working on the

system security plan for the Astrolavos Lab, it was his understanding that the lab

did not employ antivirus and incident detection software.


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      184.   In fact, pursuant to Georgia Tech’s “Controlled Unclassified

Information” policy, enacted in December 2017, like all Georgia Tech standard

solutions for NIST SP 800-171 controls, antivirus software is required to be

installed on all endpoints—such as desktops and laptops—at Georgia Tech where

CUI may be present, unless installation of the antivirus software “is deemed too

difficult or impractical to implement at the present time,” in which case a

compensating control may be implemented.

      185.   Consistent with this policy and the federal cybersecurity rules

described herein, Smith suggested that the Astrolavos Lab install antivirus

software. He was met with immediate and vigorous resistance, most notably from

Dr. Antonakakis.

      186.   For example, in a November 22, 2019 email, Garrison explained to

Smith: “I spoke with [Dr. Antonakakis] briefly this morning about . . . the policy

requirement that he install active endpoint [antivirus] protection . . . and he wasn’t

receptive to such a suggestion.” For his part, in a follow-up to Garrison’s email to

Smith, Dr. Antonakakis was more direct. He wrote in a November 22, 2019 email

to Smith: “Endpoint [antivirus] agent is a nonstarter.”

      187.   According to Garrison, other than Dr. Antonakakis’s opposition,

there was nothing preventing the lab from running antivirus protection. Dr.

Antonakakis simply did not want to run it.


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       188.   According to Smith, under pressure from the “executive leadership”

at Georgia Tech, the GRC Team permitted the Astrolavos Lab not to run antivirus

software, and instead to take “mitigating measures,” such as relying on Georgia

Tech’s network firewall. These “compensating control[s]” were put in place in

violation of Georgia Tech’s CUI Policy, which only permitted the use of such

compensating controls where the installation and use of antivirus was “deemed

too difficult or impractical to implement,” which was not the case at the Astrolavos

Lab.

       189.   Smith did not agree with this decision. According to Smith, these

mitigating measures, were “not the same thing as [running] an antivirus” on the

devices in the lab. As far as Smith was concerned, these mitigating measures were

“not a reasonable solution in this case.” They were just the solutions imposed by

Georgia Tech leadership in response to Dr. Antonakakis’s complaints as a “star

quarterback.”

       190.   Ultimately, in late November/early December 2021, the relators in

this action, both of whom worked on Georgia Tech’s cybersecurity team, learned

of the Astrolavos Lab’s failure to install, update, and run antivirus and incident

detection software, which they immediately identified as a violation of NIST SP

800-171 and applicable federal cybersecurity regulations, including DFARS 7012.




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      191.   Relators then informed Rebecca Caravati, who at the time was the

general manager of GTRC and the executive director of OSP at Georgia Tech

(which oversees Georgia Tech’s government contracting), and others on her team

about the cybersecurity violations at the Astrolavos Lab. In response, Caravati and

OSP suspended invoicing on the EA Contract due to this “noncompliance,” and in

order to avoid a “false claim.”

      192.   Within a few days of the invoicing for his contracts being suspended,

Dr. Antonakakis relented on his years-long opposition to the installation of

antivirus software in the Astrolavos Lab. Georgia Tech’s standard antivirus

software was installed throughout the lab.

      193.   Referring to the installation of antivirus software throughout the

Astrolavos Lab, Howell explained in a December 9, 2021 email: “Over the past

three days, cybersecurity worked with IT staff from Dr. Antonakakis’ lab to correct

the two items 3.14.2 and 3.6.1 flagged as non-compliant with the current lab-wide

SSP. As of late this evening, these two items have been corrected to bring the lab

back into compliance.”

      194.   As Defendants themselves have concluded, for years, the Astrolavos

Lab was not compliant with NIST 800-171 because the lab had not installed,

updated, or run antivirus software on covered contractor systems. In addition to

being a violation of DFARS 7012, this is a violation FAR 52.204-21, which explicitly


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requires the deployment of antivirus software on all federal contractor systems

that process, store, or transmit nonpublic government information as Defendants

did here.

       195.   Further, as Defendants themselves concluded when they suspended

billing on the EA Contract, this noncompliance implicates the EA Contract. The

submission of claims by Defendants to DoD when the Astrolavos Lab was

processing, storing, or transmitting Controlled Defense Information and/or

Federal Contract Information without the protection of antivirus software did, as

those parties previously concluded, result in “false claims.”

       196.   Thus, all the claims that Defendants submitted to DoD pursuant to

the EA Contract from at least as early as May 2019 up to and until December 2021

are false.

       197.   As demonstrated by Caravati’s emails suspending payments on the

EA Contract, Defendants’ years of cybersecurity noncompliance and submission

of false claims to DoD were indisputably actually known to Defendants by at least

December 2021, and Defendants recklessly disregarded and deliberately ignored

the falsity of those claims even earlier.

       198.   Notwithstanding this, Defendants never informed DoD of their

admitted non-compliance with NIST 800-171, DFARS 7012, or FAR 52.204-21, nor

their submission of false claims to DoD for years in connection with the EA


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Contract. Nor have Defendants refunded any of the amounts that they knew were

unlawfully paid to them pursuant to those false claims.

      C.     Georgia Tech and GTRC Intentionally, Knowingly, and/or
             Negligently Provided DoD With a False Summary Level Score to
             Obtain and Retain DoD Contracts.

      199.   With the intention of inducing DoD to award and retain government

contracts with GTRC and Georgia Tech, in December 2020, GTRC and Georgia

Tech, through employees of both, submitted to DoD a false summary level score

for the Georgia Tech campus that GTRC and Georgia Tech knew would mislead

DoD to believe that the score applied to all of Georgia Tech’s campus, and, at

minimum, to actual IT systems at Georgia Tech where Georgia Tech intended to

process, store, or transmit Controlled Defense Information in connection with its

research pursuant to DoD contracts.

      200.   In fact, there is no campus-wide IT system at Georgia Tech and the

summary level score that GTRC and Georgia Tech provided to DoD applied to no

actual IT system at Georgia Tech, much less the Astrolavos Lab or any other

environment at Georgia Tech that performs or might perform research pursuant

to DoD contracts.

      201.   On December 3, 2020, Blake Penn, who at the time was the head of the

GRC Team at Georgia Tech, and Eric Gill, who also worked on Georgia Tech’s

Cybersecurity team, submitted to DoD a summary level score on behalf of GTRC.


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      202.   According to DoD records, the summary level score that Georgia Tech

submitted to DoD on behalf of GTRC was a 98 out of 110. The “Standard used to

Assess” was “NIST SP 800-171.” The “assessment scope” was “enterprise” level.

The “System Security Plan Assessed” was “CAMPUS RI SSP – GEORGIA TECH.”

And the “System Security Plan Date” was “11/30/2020.” The “Plan of Action

Completion Date” for those controls for which GTRC recognized that the Georgia

Tech campus was not compliant was “12/31/2021.”

      203.   According to Penn, shortly before he and Gill submitted the 98 score

for the Georgia Tech campus to DoD, the GRC team was instructed by OSP that

Georgia Tech needed to submit a score for the campus and that the GRC team

should (i) create a system security plan for the entire Georgia Tech campus, (ii)

score that system security plan, and then (iii) provide the campus’ score to DoD.

      204.   As Penn explained it, “the decision was made by OSP that we needed

to . . . have an SSP for Georgia Tech. There was some . . . requirement coming from

the outside, I believe, that said Georgia Tech needs to have a SSP and needs to”

submit the score for it to DoD. According to Penn, OSP informed the GRC team

that the score was a “requirement” from DoD. As Penn understood it from OSP,

“we now have to input this scoring – a self-scoring -- it’s a self-evaluation

essentially -- of compliance” with NIST 800-171.




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      205.    The problem for Georgia Tech was that, according to Penn, there was

“no way of evaluating [] Georgia Tech as a whole.” This is because there is no one

overarching IT system on Georgia Tech’s campus. Rather, as Kyle Smith

explained, there are “hundreds of different” IT systems across Georgia Tech’s

campus that “are all operating independently,” including at least one in virtually

every research lab. According to Smith, “most labs at Georgia Tech have their own

IT system.”

      206.    In response, the GRC Team created a “Georgia Tech system security

plan,” for the Georgia Tech campus, and calculated a score for that system security

plan, which was a 98, and submitted that score to DoD, knowing that the score

was not for any actual IT system at Georgia Tech.

      207.    Smith was tasked with creating the Georgia Tech campus-wide

system security plan (GT SSP). As Smith described the GT SSP in his sworn

testimony, it was a “model” for how a lab at Georgia Tech could comply with most

of the NIST SP 800-171 controls by implementing certain solutions that were

available at Georgia Tech. As Smith testified, what the GT SSP ‘‘was meant to do

was model if, like, everyone on campus were to use all of our standard solutions,

and if everything were implemented in that way as designed, this is what that

assessment would look like.”




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      208.   As Penn explained it, to come up with the 98 score that he and Gill

reported to DoD on behalf of Georgia Tech and GTRC, the GRC team “assessed

[Georgia Tech’s] overall, kind of, fictitious environment for this, like, making, like,

a virtual lab or something like that. And then we -- and then we scored it like we

would any other” system security plan. (emphasis added)

      209.   Put simply, Georgia Tech assessed the model GT SSP, calculated a

score of 98, and reported that score to DoD as if the score applied to an overarching

IT system on the Georgia Tech campus or the campus at-large.

      210.   But the score did not apply to the Georgia Tech campus-at-large—and

Penn knew at the time that he submitted the score to DoD that it is not possible to

calculate an enterprise level score for the Georgia Tech campus. As Penn put it,

“[i]t’s beyond impossible.” Moreover, Penn agreed that “[t]here is no, and there

never has been . . . an SSP at the enterprise level implemented for Georgia Tech on

the resident instruction side.” As Penn put it, “[t]here’s no way you could have

something that’s an actual -- actual, you know, operational plan for all those

things.” Penn went further, testifying that the campus-wide “SSP in no way said

what happens at [the] Georgia Tech enterprise” level. In fact, according to Penn,

“there’s no document that exists that describes that . . . There can’t be.”

      211.   In his sworn testimony, Smith, who drafted the GT SSP, agreed that

“this is not a scoring of an actual IT system at Georgia Tech.” According to Smith,


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the 98 score and the GT SSP “is not specifically associated to any active research at

Georgia Tech,” and, Smith agreed that its “not . . . identifying a particular IT

system, much less a campus-wide IT system at Georgia Tech and saying, this is

being done at Georgia Tech and therefore we deserve this score.”

      212.   Nor did the individual labs throughout campus implement all of the

controls precisely as set out in the GT SSP. It was merely a model.

      213.   Lummis was tasked with approving all system security plans at

Georgia Tech, and thus all deviations to the model GT SSP in particular labs. When

asked “How often were you approving deviations from the [model] SSP,” Lummis

answered: “Pretty much every single SSP. I don’t think there’s a single lab that can

-- that was able to 100 percent do explicitly what was there.” Lummis testified that

the GT SSP “was not implemented throughout Georgia Tech as written.” This was

because it was “generally the situation” that “every SSP . . . [Lummis’s] office

approved involved at least one deviation from the GT SSP.”

      214.   The Astrolavos Lab likewise did not implement the GT SSP. As Smith

admitted, the Astrolavos Lab 2020 SSP does not “match” the GT SSP because

“changes were made from the model SSP . . . to create the SSP for the Astrolavos

Lab.” This includes, at minimum, the decision by Georgia Tech to permit the

Astrolavos Lab not to install, update, and run antivirus software at the lab.

Accordingly, as Smith testified, the Astrolavos Lab “[a]bsolutely [can]not” rely


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“on the campus-wide model SSP to establish its compliance with the system

security plan requirements.” This, Smith agreed, is because “the model SSP is . . .

not actually evaluating anything, much less that lab,” and “the score for the

Georgia Tech campus-wide SSP . . . is not a score for the SSP for the Astrolavos

Lab.”

        215.   In fact, according to Smith, the Astrolavos Lab has no summary level

score, because Georgia Tech never calculated one for it. And, based on DoD’s

records, Georgia Tech and GTRC never submitted a score for the Astrolavos Lab

separate from the false 98 score that they submitted for the entire Georgia Tech

campus.

        216.   This is consistent with the practice at Georgia Tech. Leo Howell, who

is Georgia Tech’s most recent Chief Information Security Officer, testified that “I

don’t think we do a score on a project-by-project or a lab-wide basis.” Rather,

according to Howell, the only score that Georgia Tech calculates is the campus-

wide score that Georgia Tech and GTRC submit to DoD.

        217.   This is not because Georgia Tech is unable to calculate a summary

level score for individual labs. As Howell explained, “I don’t think there's

anything, technically, that prevents it.” Georgia Tech simply chooses not to

calculate the score for individual system security plans.




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      218.   The enterprise-level score of 98 that Georgia Tech and GTRC

submitted to DoD in December 2020 is false. It does not reflect a score for any

information system used to process, store, or transmit Controlled Defense

Information in connection with Defendants’ DoD contracts, including the

Astrolavos Lab.

      219.   Georgia Tech and GTRC knew that the score was false when they

submitted it to DoD. They knew that there was no campus-wide IT system at

Georgia Tech, nor could there be. They knew that the score of 98 that they reported

to DoD was not for any actual IT system at Georgia Tech, much less for one that

would or could process, store, or transmit Covered Defense Information. They also

knew that the score was not for the Astrolavos Lab or any other lab at Georgia

Tech that performed work for DoD pursuant to government contracts.

      220.   Notwithstanding this knowledge, Georgia Tech and GTRC

intentionally submitted the false 98 campus-wide score to DoD. During the

relevant time period, December 2020 through December 2023, Georgia Tech and

GTRC never clarified for DoD that the score is not for the entire campus or, in fact,

any IT system at the Georgia Tech campus, much less any of the labs that perform

work for DoD pursuant to government contracts, including the Astrolavos Lab.

Further, GTRC falsely certified compliance with DFARS 7019, at least with respect

to the Smoke Contract, and likely many others.


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      221.   Thus, in December 2021, Georgia Tech and GTRC intentionally,

knowingly, and negligently submitted a false enterprise level summary level score

of 98 to DoD for the Georgia Tech campus, and falsely certified compliance with

DFARS 7019, to induce DoD to award and retain government contracts with

Georgia Tech and GTRC.

   IV.     Defendants Knew the Federal Cybersecurity Rules; They Knowingly,
           Intentionally, and/or Negligently Violated Those Rules In Connection
           with a Culture of Cybersecurity Noncompliance.

      222.    Defendants, as large, sophisticated government contractors with

billions of dollars in DoD contracts over the years, knew the federal cybersecurity

requirements at issue here. Defendants knew what those regulations required and

that they were not compliant with them. Notwithstanding this, Defendants

knowingly and intentionally submitted false claims to DoD, certifying each time

that those claims were “in accordance with the agreements set forth in the

application and award documents.”

      A.     Defendants Knew the Federal Cybersecurity Requirements, What
             They Require, Their Importance, and that Violating those
             Requirements Could Lead to False Claims.

      223.   Defendants knew the federal cybersecurity requirements and the

consequences for violating those requirements.




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                       (i)   DFARS 7012/NIST 800-171/FCA Compliance

      224.   Rebecca Caravati testified that as the general manager of GTRC, as

well as the executive director of OSP, she understood that “invoicing the

government when you are not compliant [with NIST 800 requirements] would be

interpreted as a false claim.”

      225.   Caravati further testified that “I trained my staff” on these

requirements, namely, “Georgia Tech employees [from the] Office of Sponsored

Programs,” who worked with GTRC on government contracting. According to

Caravati, “Dr. Abdallah and Rob Butera were present” for her trainings on NIST

SP 800-171 and the FCA.

      226.   In these trainings, Caravati would “talk about that this is your

contract, you have to comply.” Caravati “would hand out . . . some slides to show

them what the penalties were . . . . I had a slide -- and I had some examples of some

universities that had paid a lot of money. You know it really happens; it’s not just

hypothetical.”

      227.   Other Georgia Tech employees, including Georgia Tech’s last two

permanent Chief Information Security Officers, similarly testified that they

understood that Defendants had to comply with federal cybersecurity

requirements in order for Defendants to contract with the federal government.




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      228.   Jimmy Lummis testified that: “In my understanding from Georgia

Tech’s perspective, Georgia Tech executes research on behalf of the federal

government. And they obtain research contracts, and those contracts obligated us

to comply with DFARS 7012.” Leo Howell testified similarly, agreeing that

“Georgia Tech needs to comply with NIST 800-171 if there’s a 7012 clause in the

contract.”

      229.   This testimony is consistent with Georgia Tech’s official policies.

Georgia Tech’s website identifies the following as part of the “Georgia Tech

Controlled Unclassified Information Policy,” which makes clear that “Georgia

Tech is obligated to ensure that all systems and processes involved with CUI are

compliant with NIST 800-171 to continue receiving Federal funds associated with

the use of this data (either directly received from the government or indirectly

through associated covered contracts and contractors).” (emphasis added)

      230.   Georgia Tech’s website further demonstrates Georgia Tech’s

understanding of its obligations under federal cybersecurity regulations, declaring

that “compliance with NIST SP 800-171 . . . is required by December 31st, 2017 by

the DoD for all entities that handle controlled unclassified information (CUI).

Associated direct and indirect federal funding related to CUI is in the 100’s of

millions USD.” (emphasis added)




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      231.   Moreover, Georgia Tech’s website leaves no doubt that it understood

why it was important for Georgia Tech to comply with federal cybersecurity

regulations, explaining in a section titled “Why is this important to Georgia Tech?”

that “a failure to meet existing compliance requirements may result in contract

termination and the loss of contract funds.” (emphasis added).

      232.   Penn explained that he and Lummis were also well aware of the

potential effect of Georgia Tech’s widespread noncompliance with DFARS 7012

and NIST (SP) 800-171. Summarizing his prior testimony, Penn agreed that he and

“Lummis knew that if Georgia Tech did not comply with the 7012 clause and 800-

171 regulations that it could potentially lose some of the $360 million that it had

earned in these government contracts,” explaining that it was a “huge financial

risk” for Georgia Tech.

                      (ii)   System Security Plan and Security Controls

      233.   Defendants knew that they were required by federal cybersecurity

regulations to develop and implement a system security plan as well as implement

the 110 security controls under NIST SP 800-171 for all IT systems governed by

DFARS 7012.

      234.   Defendants’ employees including Caravati, who was a senior

employee at Georgia Tech/GTRC and Kyle Smith knew that, at a minimum,




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compliance with DFARS 7012 required having a system security plan for each

relevant information system.

      235.   Consistent with this, Georgia Tech’s “Resident Instruction System

Security Plans (SSP’s)” policy recognizes that a “System Security Plan (SSP) is

required for Resident Instruction (RI) research efforts that will be performed on RI

computers/networks or at RI locations if the contract includes the 7012 clause.”

(emphasis added)

      236.   This policy was adopted during the time that Lummis was Georgia

Tech’s CISO. Lummis explained the policy this way: “It is saying a system security

plan must be in place when research is being conducted in resident instruction and

performed on RI computers and networks.” In other words, according to Lummis,

“[i]f there is a [DFARS 7012] clause and it’s being executed on campus systems and

networks, then it has to have a campus SSP.” Howell testified similarly, agreeing

that ”every lab or project that has a DFARS 7012 . . . [must] have their own SSPs.”

      237.   As Blake Penn testified, for multiple years, there was “no

enforcement” at Georgia Tech of the requirement for a system security plan. As

Penn explained, labs at Georgia Tech routinely began work on DoD contracts

without first developing and implementing system security plans or the associated

NIST controls. This included the Astrolavos Lab.




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      238.   Thus, at the time that Defendants entered into contracts with DoD,

including the Astrolavos Lab Contracts, they knew that Georgia Tech was not and

would not by December 31, 2017 be compliant with the controls in NIST SP 800-

171, including its most basic requirement for a system security plan and plans of

action to implement unimplemented security controls.

      239.   As Penn testified, the researchers “got money for doing something in

a contract to where they had not yet even made an SSP for compliance with 800-

171 and the compliance efforts came post facto,” if at all. This, Penn understood

was not permitted, because as Penn admitted, “[NIST] 800-171 actually requires

the existence of an SSP . . . [s]o if the researchers didn’t have a SSP they would --

by definition they would not have complied.”

      240.   Thus, at the time they contracted with DoD, Defendants knew that

they were not complying, and would continue not to comply, with the system

security plan requirement, as well as the requirements to implement and monitor

applicable security controls, as well as to put in place specific plans of action to

comply with all the controls.

                      (iii)   Antivirus

      241.   Defendants knew that they were required by federal cybersecurity

rules to install, run, and update antivirus software throughout covered contractor

systems. Lummis, Georgia Tech’s former CISO, explained it succinctly in sworn


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testimony: “DFARS 7012 requires compliance with NIST 800-171, and NIST 800-

171 has antivirus requirements.”

      242.   This is consistent with Georgia Tech’s antivirus software policy,

which requires the installation of antivirus on all systems at Georgia Tech except

those that are public facing, such as Georgia Tech’s public websites.

      243.   Georgia Tech, thus, knew that the Astrolavos Lab was not in

compliance with federal cybersecurity regulations when it operated for years

without antivirus.

      244.   Defendants confirmed this knowledge in contemporaneous emails.

For example, on December 3, 2021, after learning that the Astrolavos Lab had not

been running antivirus software for years, Caravati sent an email to Dr. Abdallah,

Georgia Tech’s Vice President of Research and the President of GTRC, and others,

informing them that: “the Cybersecurity Team has just been advised that Professor

Antonakakis is not compliant with his System Security Plan and thus GT is not

compliant with the terms of its DARPA contract that support[s] Professor

Antonakakis’s research. Since the contract contains the 7012 clause, compliance is

necessary to prevent risk of a GT false claim.” (emphasis added)

      245.   A few days later on December 6, 2021, Glen Campopiano, a director

of project accounting at Georgia Tech, sent Dr. Antonakakis an email, copying

others, that informed Dr. Antonakakis that “G&C Accounting has been instructed


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to freeze” billing on the EA Contract “to prevent any further expenses from

posting to these accounts effective today December 5. The reason for the spending

freeze is your lab’s non-compliance with NIST.”

      246.   The email contained a note from Rebecca Caravati that read: “Since

we are not compliant at this time, I am asking Grants and Contracts Accounting

to suspend charges to the DARPA project until such time as we can confirm his

lab’s compliance with NIST. This is necessary to prevent invoicing the government

while we have a known non-compliance, since invoices billed to the government

could be considered a false claim.”(emphasis added).

      247.   Others at Georgia Tech also knew at that time that by not running

antivirus software the Astrolavos Lab was not compliant with NIST 800-171. For

example, Howell testified under oath to the following:

             Q. And did you agree with Ms. Caravati, when she looked
             into the issue, that there was non-compliance?
             A. Yes.
             Q. So as of December 2021, the Astrolavos Lab was not in
             compliance with NIST?
             A. Correct.

                       (iv)   Summary Level Score

      248.   As with the other cybersecurity requirements, Defendants were

aware of the requirement that they provide DoD with accurate summary level

scores for each of the relevant IT systems as a condition of contracting with DoD.


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      249.   For her part, Caravati testified as to the following:

             Q. . . . Ms. Caravati, do you understand that DoD contracts
             containing the Section 7012 clause require contractors to submit
             a self-assessment score to the Department of Defense?
             A. Yes.
             Q. And do you understand that this self-assessment score is
             based on a review of a system security plan that’s associated
             with the information system that’s being used when
             performing a DoD contract subject to the 7012 clause?
             A. Yes.
                                              ...
             Q. And was it your understanding that Georgia Tech had to
             report this self-assessment score via the DoD portal in order to
             be eligible to bid on DoD contracts containing the 7012 clause?
             A. Yes.
             Q. Did you share that understanding with anybody else?
             A. Yes, I did.
             Q. Who did you share that understanding with?
             A. Rob Butera. Dr. Abdallah. GRC. OIT. My colleagues in OSP.

      250.   As Caravati understood the requirement for a summary level score,

and explained it to others at Georgia Tech: “you can’t even propose [for a DoD

contract] unless you have this SSP and you have this self-assessment score in that

portal.” As Caravati put it, if Georgia Tech and GTRC did not report a score for

Georgia Tech then: Georgia Tech “would not be able to submit proposals on

contracts where you knew the resulting contract would have 7012.”

      251.   This is consistent with the testimony of Lummis and Howell, both of

whom testified that they were familiar with the requirement that Defendants had

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to provide a summary level score to DoD. As Lummis explained, “we had to log

in to a particular system and attest to our compliance.”

      252.   Blake Penn, who submitted the first summary level score for GTRC

and Georgia Tech to DoD, explained that he understood that the score “was a thing

that the government used to rate its -- or DoD used it to rate its suppliers on

compliance with the 171.” According to Penn, OSP informed him that “we now

have to input this scoring – a self-scoring -- it’s a self-evaluation essentially -- of

compliance into the SPRS system.”

      253.   Kyle Smith testified similarly, explaining that he understood that

Defendants were required to report a separate score for each lab because the labs

were all different and had different and unique system security controls in place.

      254.   Caravati concluded that it would be “misleading” for Georgia Tech

and GTRC to report a score for the Georgia Tech campus to DoD as Georgia Tech’s

only score. As Caravati testified, “my concern was, it was going to look to the

government as if that was our score, when that was a score of a whole bunch of

little things. It wasn’t, you know -- well, maybe not that little. But they would think

that was the score for everything, that -- it could be misleading.” (emphasis

added). As Caravati further explained, “my concern was that the government . . .

would just look at that in the portal and think, oh, that’s their overall score.”




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        255.   According to Caravati, she voiced her concern at Georgia Tech that

posting a score for the Georgia Tech campus would “mislead” the government, be

“less than forthright,” or an outright “misrepresentation.” Notwithstanding these

warnings, Georgia Tech and GTRC reported the “misleading” score to DoD.

        256.   After posting a single enterprise level score of 98 for the Georgia Tech

campus in December 2020, neither GTRC nor Georgia Tech (i) corrected that score,

nor (ii) provided DoD with individual scores for any of the labs at Georgia Tech.

   V.      Violations of Federal Cybersecurity Regulations are Material.

        257.   Compliance with federal cybersecurity requirements is material to the

United States’ contracting and payment decisions on DoD contracts.

        A. DoD Cybersecurity is Critical to National Defense.

        258.   Lax cybersecurity compliance poses an existential threat to the federal

government, DoD, federal contractors, and the national security of the United

States. The problem is so significant that each of the last three presidents has issued

executive orders addressing the issue.

        259.   Most recently, on May 21, 2021, President Biden issued an “Executive

Order on Improving the Nation’s Cybersecurity.” In that executive order, the

President warned that:

               The United States faces persistent and increasingly
               sophisticated malicious cyber campaigns that threaten the
               public sector, the private sector, and ultimately the American
               people’s security and privacy.

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              ...
              The Federal Government must bring to bear the full scope of its
              authorities and resources to protect and secure its computer
              systems, whether they are cloud-based, on-premises, or hybrid.
              ...
              It is the policy of my Administration that the prevention,
              detection, assessment, and remediation of cyber incidents is
              a top priority and essential to national and economic
              security. The Federal Government must lead by example. All
              Federal Information Systems should meet or exceed the
              standards and requirements for cybersecurity set forth in and
              issued pursuant to this order.

      260.    A few years earlier, on May 11, 2017, then President Trump issued a

“Presidential Executive Order on Strengthening the Cybersecurity of Federal

Networks and Critical Infrastructure.” That executive order noted that the federal

government’s “IT and data should be secured responsibly using all United States

Government capabilities.” This is because “cybersecurity risk” poses a threat “to

national security.”

      261.    Several years earlier, on February 12, 2013, then President Obama

issued   an    “Executive    Order”    on      “Improving    Critical   Infrastructure

Cybersecurity.” As that executive order explained: “The cyber threat to critical

infrastructure continues to grow and represents one of the most serious national

security challenges we must confront. The national and economic security of the

United States depends on the reliable functioning of the Nation’s critical

infrastructure in the face of such threats.”


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      262.   Finding the issue of cyber-attacks on U.S. interests so dire, almost a

decade ago, on April 1, 2015, President Obama issued an executive order to

“declare a national emergency to deal with” the “threat” of “malicious cyber-

enabled activities originating from, or directed by persons located, in whole or in

substantial part, outside the United States.” The executive order declared that that

the threat of cyber-attacks on American interests “constitute an unusual and

extraordinary threat to the national security, foreign policy, and economy of the

United States.”

      263.   For its part, DoD has been clear that: “The protection of controlled

unclassified information on contractor information systems is critically important

to the Department of Defense.” Memorandum, Office of the Under Secretary of

Defense, Contractual Remedies to Ensure Contractor Compliance with Defense Federal

Acquisition Regulation Supplement Clause 252.204-7012, at 1 (Jun. 16, 2022) (Under

Secretary Memo).

      264.   DoD has been dire in its warnings regarding the threat of cyberattack

on DoD and its contractors. In 2015, in adopting an interim rule that implemented

the current version of DFARS 7012, DoD highlighted the “urgent need to protect

covered defense information and gain awareness of the full scope of cyber

incidents being committed against defense contractors.” This was because of the




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“increased [] vulnerability of DoD information via attacks on its systems and

networks and those of DoD contractors.” 80 Fed. Reg. 51739, 51741 (Aug. 26, 2015).

      265.   In 2020, DoD sounded the alarm on the urgent need for defense

contractors to comply with federal cybersecurity requirements. In the interim rule

enacting DFARS 7019 and 7020, DoD declared that “urgent and compelling

reasons exist to promulgate th[e] interim rule” because “[m]alicious cyber actors

have targeted, and continue to target, the DIB sector, which consists of over

200,000 small-to-large sized entities that support the warfighter.” 85 Fed. Reg. at

61517-518.

      266.   According to DoD, “[t]he Department has been focused on improving

the cyber resiliency and security of the DIB sector for over a decade as evidenced

by the development of minimum cybersecurity standards and . . . [the]

implementation of those standards in the FAR and DFARS.” Id. at 61518.

      267.   Congress recognized the same threat. As DoD explained: “In the

Senate Armed Services Committee Report to accompany the NDAA for FY 2020,

the Committee expressed concern that DIB contractors are an inviting target for

our adversaries, who have been conducting cyberattacks to steal critical military

technologies.” Id.

      268.   DoD thus warned in 2020 that: “There is an urgent need for DoD to

immediately begin assessing where vulnerabilities in its supply chain exist and


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take steps to correct such deficiencies, which can be accomplished by requiring

contractors and subcontractors that handle DoD CUI on their information systems

to complete a NIST SP 800-171 Basic Assessment.” Id.

      269.   As importantly, DoD further warned: “It is equally urgent” that “DIB

contractors that have not fully implemented the basic safeguarding requirements

under FAR clause 52.204-21 or the NIST SP 800-171 security requirements

pursuant to DFARS 252.204-7012 begin correcting these deficiencies immediately.

These are cybersecurity requirements contractors and subcontractors should have

already implemented (or in the case of implementation of NIST SP 800-171, have

plans of action to correct deficiencies) on information systems that handle CUI.”

Id. at 61518-519

      270.   According to DoD, the purpose of DFARS 7019 and 7020 is to

“ensure[] contractors and subcontractors focus on full implementation of existing

cybersecurity requirements on their information systems and expedite[] the

Department’s ability to secure its supply chain.” Id. at 61519.

      271.   The U.S. Department of Justice (DOJ) has echoed these concerns. On

October 6, 2021, DOJ announced “the launch of the department’s Civil Cyber-

Fraud Initiative to “utilize the False Claims Act to pursue cybersecurity related

fraud by government contractors and grant recipients [and] hold accountable

entities or individuals that put U.S. information or systems at risk by knowingly


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providing    deficient    cybersecurity    products     or    services,   knowingly

misrepresenting their cybersecurity practices or protocols, or knowingly violating

obligations to monitor and report cybersecurity incidents and breaches.”

      272.   The President’s National Cybersecurity Implementation Plan, version

two of which was published in May 2024, specifically highlighted DOJ’s Civil

Cyber Fraud Initiative as a critical tool in promoting effective cybersecurity for the

federal government, explaining:

       The Civil Cyber-Fraud Initiative (CCFI) uses DOJ authorities under
      the False Claims Act to pursue civil actions against government
      grantees and contractors who fail to meet cybersecurity obligations.
      The CCFI will hold accountable entities or individuals that put U.S.
      information or systems at risk by knowingly providing deficient
      cybersecurity products or services, knowingly misrepresenting their
      cybersecurity practices or protocols, or knowingly violating
      obligations to monitor and report cyber incidents and breaches.

      B. Cybersecurity Compliance is a Condition of Contract.

      273.   In light of the importance of cybersecurity compliance, DoD has made

compliance with federal cybersecurity mandates a condition of contract, and thus

a condition payment.

      274.   By its very terms, compliance with DFARS 7019 “is a condition of

contract award.” 85 Fed. Reg. at 61509; DFARS 7019. The requirement is so

significant, contracting officers at DoD are not lawfully permitted to enter into

most contracts with bidders unless they have submitted to DoD the summary level

score required by DFARS 7019.

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      275.   In 2022, DoD reemphasized this requirement in a memorandum from

the Office of the Under Secretary of Defense that was directed to be distributed to

DoD contracting officers, declaring that: “Contracting Officers are also reminded .

. . [that] if a contractor is required by a contract containing DFARS clause 252.204-

7012 to implement NIST SP 800-171 on a covered contractor information system

relevant to a new contract . . . the Contracting Officer must verify, prior to award,

the contractor has the summary level score of a current NIST SP 800-171 DoD

Assessment posted in SPRS.” Under Secretary Memo at 2-3 (emphasis added).

      276.   DoD also requires contractors to expressly certify or represent their

compliance with DFARS 7019. For example, at the time of bidding, DARPA

mandates such a certification or representation of compliance with DFARS 7019 in

connection with all of its contracts. GTRC provided such a certification or

representation of compliance with DFARS 7019 in connection with its bid for at

least the Smoke Contract.

      277.   A similar representation of compliance with DFARS 7012 is required

in virtually every DoD contract pursuant to DFARS 7008. In connection with bids

for DoD contracts, defense contractors are required to represent “[b]y submission

of this offer” that they “will implement” all the security controls in NIST SP 800-

171 “not later than December 31, 2017.”




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      278.   Moreover, DoD regulations mandate in no uncertain terms that

“Contractors and subcontractors are required to provide adequate security on all

covered contractor information systems,” DFARS 7302(a)(1) (emphasis added),

and that “[t]he security requirements required by [DFARS 7012], shall be

implemented for all covered defense information on all covered contractor

information systems that support the performance of this contract.” DFARS

7008(b) (emphasis added).

      279.   This is why the Under Secretary of Defense has emphasized that

“Contractors must implement all of the NIST SP 800-171 requirements and have a

plan of action and milestones . . . for each requirement not yet implemented [and

that failure to do so] . . . may be considered a material breach of contract

requirements.” (emphasis added)

      280.   Consistent with this, on August 8, 2024, DARPA sent a “cure notice”

to Georgia Tech and GTRC in connection with the SMOKE Contract. The cure

notice referenced the alleged violations of federal cybersecurity rules (including

DFARS 7012 and 7019) detailed herein, which the notice indicated “endangers

performance of the contract.” The notice further demanded that Georgia Tech and

GTRC “cure any deficiencies within 30 days of receipt of this notice.” The notice

further indicated that the “Government reserves the right to issue a notice of




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termination” of the SMOKE Contract “for noncompliance with the terms” of that

contract.

      281.    Given this, DoD cybersecurity requirements, including those at issue

here, go to the heart of the bargain of all DoD contracts that involve covered

defense information, including the Astrolavos Lab Contracts.

   VI.      GTRC Submitted False Claims to DoD.

      282.    GTRC knowingly submitted false claims to DoD for the Astrolavos

Contracts.

              A.    The EA Contract

      283.    The Astrolavos Lab began work on the EA Contract in late 2016, and

was processing, storing, or transmitting Controlled Defense Information on its

information systems by May 28, 2019.

      284.    Over the course of the contract, GTRC submitted approximately 43

invoices to DoD for work performed on the EA Contract, totaling $21,891,306. Each

of the invoices described the services provided or goods purchased in connection

with the contract. Each invoice included the following certification: “I certify that

all payments are for appropriate purposes and in accordance with the agreements

set forth in the application and award documents.” None of the invoices mention

Georgia Tech or GTRC’s failure to comply with applicable federal cybersecurity

rules and regulations.


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      285.   The last of these invoices (with invoice number CI-00049292) was

submitted to DoD on April 22, 2022 for $265,490.51, for work that was performed

in July and August 2021.

      286.   For the period May 2019 through the end of performance under the

EA Contract, GTRC and Georgia Tech submitted invoices totaling $10,237,621.79

in connection with work performed on the EA Contract. These invoices were paid

in full by DoD. GTRC and Georgia Tech split between them the amounts that were

paid to them by DoD pursuant to the EA Contract.

             B.    The Smoke Contract

      287.   The Astrolavos Lab began work on the Smoke Contract in October

2022. On June 26, 2023, GTRC submitted its first invoice (with invoice number

CIOO61405) to DoD for work on the Smoke Contract for $816,069.77. GTRC

submitted its next two invoices (with invoice numbers CI0069278 and CI0061864)

to DoD for the Smoke Contract on July 21, 2023 for $1,217,612.02 and $1,562,882.39

respectively.

      288.   In all, GTRC submitted 14 invoices to DoD for work performed on the

Smoke Contract. Each of the invoices described the services provided or goods

purchased in connection with the contract. Each invoice included the following

certification: “I certify the amounts herein claimed are in accordance with the

application and award documents and have not been previously claimed.” None


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of the invoices mention Georgia Tech or GTRC’s failure to comply with applicable

federal cybersecurity rules and regulations.

      289.   The last of these invoices (with invoice number CI0082883) was

submitted to DoD on April 24, 2024 for $322,273.39. In total, to date, GTRC has

submitted invoices totaling $9,279,799 in connection with the Smoke Contract.

These invoices were paid in full by DoD. GTRC and Georgia Tech split between

them the amounts that were paid by DoD pursuant to the Smoke Contract.

   VII.   Damages

      290.   The United States has suffered damages because of Defendants’

failure to comply with applicable federal cybersecurity rules and regulations, and

their false representations of compliance in connection with the Astrolavos Lab

Contracts. DoD has paid Defendants millions of dollars under the Astrolavos Lab

Contracts on false pretenses.

      291.   At bottom, DoD paid for military technology that Defendants stored

in an environment that was not secure from unauthorized disclosure, and

Defendants failed to even monitor for breaches so that they and DoD could be

alerted if information was compromised. What DoD received for its funds was of

diminished or no value, not the benefit of its bargain.

      292.   Additionally, Defendants were unjustly enriched and paid by mistake

at the expense of the United States.


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                              CAUSES OF ACTION

                                  COUNT I
             Presentment of False Claims; 31 U.S.C. § 3729(a)(1)(A)
                               (Against GTRC)

      293.   The United States incorporates and re-alleges all the allegations

contained in this Complaint-in-Intervention into this paragraph.

      294.   GTRC knowingly presented or caused to be presented material false

or fraudulent claims for payment or approval to the United States in violation of

DFARS 7302; 7008; 7012; and FAR 52.204-21, that were false or fraudulent because

despite having Covered Defense Information, Defendants failed for multiple years

to provide “adequate security” for covered contractor information systems

relevant to the Astrolavos Lab Contracts by, at the minimum, knowingly failing to

(i) develop, document, implement, and periodically update system security plans

and associated NIST SP 800-171 security controls for the covered systems at the

Astrolavos Lab, and (ii) install, update, and run antivirus and incident detection

software throughout the covered systems at the Astrolavos Lab.

      295.   GTRC knowingly presented or caused to be presented material false

or fraudulent claims for payment or approval to the United States in violation of

DFARS 7302; 7019; and 7020 that were false or fraudulent because GTRC and

Georgia Tech failed to submit an accurate summary level score for GTRC, Georgia

Tech, the Astrolavos Lab or any other lab at Georgia Tech for which GTRC entered


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into contracts with DoD which required submission of a summary level score, and

instead submitted a false or fraudulent score for the Georgia Tech campus.

      296.   GTRC failed to disclose to the United States that (1) each of its

certifications was false; (2) that it had not provided adequate security on all

covered contractor systems; (3) that it had not implemented the required NIST

Controls on all covered contractor systems or implemented plans of action for

unimplemented controls; (4) that it had failed to install, run, and update antivirus

software on covered contractor information systems; (5) that the score of 98

reported to DoD for the Georgia Tech campus was false because (i) Georgia Tech

neither has nor could it ever have a campus-wide IT system, and (ii) the score did

not apply to any actual IT system at Georgia Tech where research for DoD

involving Covered Defense Information was or would be performed, or to any

actual IT system at Georgia Tech that could or would possess or transmit Covered

Defense Information in connection with a DoD contract, including any IT system

at the Astrolavos Lab; and (6) Defendants had otherwise failed to comply with

DFARS 7302; 7008; 7012; 7019; 7020; and FAR 52.204-21.

      297.   GTRC’s conduct was material to the United States and induced the

United States to enter into and/or retain contracts with GTRC, make payments to

GTRC to which it was not entitled pursuant to those contracts, and otherwise

damaged the United States. The United States is entitled to an award of treble its


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damages, plus statutory penalties pursuant to 31 U.S.C. §§ 3729(a)(1). The United

States is also entitled to its costs prosecuting this litigation against GTRC, pursuant

to 31 U.S.C. § 3729(a)(3).

                                   COUNT II
               False Record or Statement; 31 U.S.C. § 3729(a)(1)(B)
                                (Against GTRC)

      298.   The United States incorporates and re-alleges all the allegations

contained in this Complaint-in-Intervention into this paragraph.

      299.   GTRC knowingly made, used, or caused to be made or used, false

records or false statements that were material to claims for payment or approval

to the United States.

      300.   GTRC falsely represented or certified to the United States that: (1)

pursuant to DFARS 7008, that it “will implement the security requirements

specified by [NIST (SP) 800–171] . . . not later than December 31, 2017”; and (2) on

each and every invoice that it submitted to DoD that it “certif[ies] that all payments

are for appropriate purposes and in accordance with the agreements set forth in

the application and award documents” or that it “certif[ies] the amounts herein

claimed are in accordance with the application and award documents and have

not been previously claimed.”

      301.   GTRC falsely represented or certified to the United States that it

complied with DFARS 7019 and DFARS 7020 by submitting an accurate summary


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level score for “each” IT system that was “relevant” to the applicable bid and

contract.

      302.   GTRC failed to disclose to the United States that (1) each of its

representations was false; (2) it had not provided adequate security on all covered

contractor systems; (3) it had not implemented the required NIST Controls on all

covered contractor systems or put in place plans of action to implement those

controls that had not been implemented; (4) it had failed to install, run, and update

antivirus software on covered contractor information systems; and (5) it had

otherwise failed to comply with DFARS 7302; 7008; 7012; and FAR 52.204-21.

      303.   GTRC failed to disclose to the United States that: (1) the summary

level score of 98 for the Georgia Tech campus was false because (i) Georgia Tech

neither has nor could it have a campus-wide IT system, and (ii) the score did not

apply to any actual IT system at Georgia Tech where research for DoD involving

Covered Defense Information was or would be performed, or to any actual IT

system at Georgia Tech that could or would possess or transmit Covered Defense

Information in connection with a DoD contract, including any IT system at the

Astrolavos Lab; and (6) Defendants had otherwise failed to comply with DFARS

7302; 7008; 7012; 7019; 7020; and FAR 52.204-21.

      304.   GTRC’s representations and certifications were material to the United

States and the United States relied on them in making the decision to enter into


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contracts with GTRC and to retain those contracts. GTRC’s conduct thus induced

the United States to enter into and/or retain contracts with GTRC, and caused the

United States to pay monies to GTRC to which it was not entitled, thereby

damaging the United States.

      305.      The United States is entitled to an award of treble its damages, plus

statutory penalties pursuant to 31 U.S.C. §§ 3729(a)(1). The United States is also

entitled to its costs prosecuting this litigation against GTRC, pursuant to 31 U.S.C.

§ 3729(a)(3).

                                     COUNT III
                            Fraud; Federal Common Law
                          (Against Georgia Tech and GTRC)

      306.      The United States incorporates and re-alleges all the allegations

contained in this Complaint-in-Intervention into this paragraph.

      307.      In December 2020, Georgia Tech and GTRC intentionally submitted

to the United States a false and fraudulent summary level score of 98 for the

Georgia Tech campus.

      308.      At the time that Georgia Tech and GTRC submitted the false and

fraudulent score to the United States, Georgia Tech and GTRC knew that the score

was false and fraudulent because they knew: (1) that the Georgia Tech campus had

no campus-wide IT system; (2) the Georgia Tech campus could never have a

campus-wide IT system; (3) that the score reported to DoD did not apply to any


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actual IT system at Georgia Tech, much less one that was campus-wide, much less

one where active research for DoD was taking or would take place, much less one

for the Astrolavos Lab or any other lab at Georgia Tech; (4) that all of the labs at

Georgia Tech, including the Astrolavos Lab, had no summary level score because,

as a matter of policy and practice, Georgia Tech did not calculate scores for

individual lab environments where actual research for DoD was or would be

performed; and (5) that no lab at Georgia Tech was required to implement the GT

SSP, from which the 98 score reported to DoD was derived, and that, in fact, labs

at Georgia Tech, including the Astrolavos Lab, had generally not implemented the

GT SSP as written.

      309.   At the time that Georgia Tech and GTRC submitted the false score to

the United States, they were warned by their own employee, Rebecca Caravati,

that providing the false score to DoD would would “mislead” the government, be

“less than forthright,” or constitute an outright “misrepresentation” to the

government.

      310.   Notwithstanding these warnings, Georgia Tech and GTRC submitted

the false score for the Georgia Tech campus. This is because Georgia Tech and

GTRC understood that submitting a score was a “condition of contract.” And that

if a score was not provided to the United States that applied to all the labs at

Georgia Tech that performed work with DoD, those labs in particular, and Georgia


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Tech and GTRC in general, would no longer be eligible for DoD contracts. Put

simply, Georgia Tech and GTRC intentionally submitted the false score because

“[t]hey wanted the money.”

      311.   Georgia Tech and GTRC thus intended to deceive DoD into believing

that the score it reported to DoD applied to a campus-wide IT environment that

applied to the work to be performed by labs at Georgia Tech that would seek to

contract with DoD.

      312.   The United States relied on the false 98 score that Georgia Tech and

GTRC posted in December 2023 to determine that GTRC, on behalf of Georgia

Tech, was eligible to bid on contracts for DoD, including the Smoke Contract. DoD

believed, as represented by Georgia Tech and GTRC, that the 98 score applied to

the Georgia Tech campus and thus the lab environments at Georgia Tech that

would perform research for DoD pursuant to applicable government contracts.

The false score was material to the United States’ contracting and payment

decisions with respect to contracts that it entered into with GTRC for work that

was to be performed by Georgia Tech.

      313.   The United States relied on the false summary level score that Georgia

Tech and GTRC posted in December 2023 to enter into contracts with GTRC on

behalf of Georgia Tech, including the Smoke Contract, and to make payments to

GTRC that would later be shared with Georgia Tech pursuant to those contracts.


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      314.   The United States has suffered damages because of Georgia Tech and

GTRC’s alleged conduct.

                                 COUNT IV
              Negligent Misrepresentation; Federal Common Law
                      (Against Georgia Tech and GTRC)

      315.   The United States incorporates and re-alleges all the allegations

contained in this Complaint-in-Intervention into this paragraph.

      316.   In December 2020, Georgia Tech and GTRC submitted to the United

States a false summary level score of 98 for the Georgia Tech campus.

      317.   At the time that Georgia Tech and GTRC submitted the false score to

the United States, Georgia Tech and GTRC were at least negligent and in fact knew

that the score was false because they knew: (1) that the Georgia Tech campus had

no campus-wide IT system; (2) the Georgia Tech campus could never have a

campus-wide IT system; (3) the 98 summary level score reported to DoD did not

apply to any actual IT system at Georgia Tech, much less one that was campus-

wide, much less one where active research for DoD was taking or would take

place, much less one for the Astrolavos Lab or any other lab at Georgia Tech; (4)

all of the labs at Georgia Tech, including the Astrolavos Lab had no summary level

score, because, as a matter of policy and practice, Georgia Tech did not calculate

summary level scores for individual lab environments where actual research for

DoD was or would be performed; and (5) no lab at Georgia Tech was required to


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implement the GT SSP, from which the 98 score reported to DoD was derived, and

that, in fact, labs at Georgia Tech, including the Astrolavos Lab, had generally not

implemented the GT SSP as written.

      318.   Georgia Tech and GTRC had a duty of competence and reasonable

care in reporting the summary level score to the United States. Georgia Tech and

GTRC knew that reporting the score was a “condition of contract” and that the

United States would rely on the existence of the score in assessing their eligibility

for DoD contracts. Further, Georgia Tech and GTRC certified and represented to

the United States in connection with individual contracts (including the Smoke

Contract) that they complied with DFARS 7019, which is the regulation that

mandated that GTRC and Georgia Tech submit an accurate summary level score

to the United States.

      319.   Georgia Tech and GTRC violated their duty of competence and

reasonable care by negligently certifying and representing their compliance with

DFARS 7019 and by negligently representing to the United States that the 98 score

was for a campus-wide IT system that actually existed at Georgia Tech on which

labs at Georgia Tech could or would perform research for DoD in connection with

government contracts and where covered defense information could or would be

transmitted or stored.




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      320.   Georgia Tech and GTRC further violated their duty of competence

and reasonable care by negligently omitting in their communications to the United

States that the 98 score was (1) false; (2) not for a campus-wide IT system at Georgia

Tech, because no such campus-wide IT system did or could exist at Georgia Tech;

and (3) did not apply to the Astrolavos Lab or any other lab at Georgia Tech where

research was or would be performed for DoD in connection with a government

contract with GTRC or Georgia Tech, or to any IT system at Georgia Tech that

would or could possess Covered Defense Information.

      321.   The United States reasonably relied on the false summary level score

that Georgia Tech and GTRC posted in December 2020 to determine that GTRC,

on behalf of Georgia Tech, was eligible to bid on certain contracts for DoD,

including the Smoke Contract, based on the representation by Georgia Tech and

GTRC that the score applied to the Georgia Tech campus and thus the lab

environments at Georgia Tech that would perform research for DoD pursuant to

applicable government contracts and that may possess or transmit Covered

Defense Information.

      322.   The United States reasonably relied on the false summary level score

that Georgia Tech and GTRC posted in December 2020 to enter into contracts with

GTRC on behalf of Georgia Tech, including the Smoke Contract, and to make




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payments to GTRC that would later be shared with Georgia Tech pursuant to those

contracts, to which neither party was entitled.

      323.   The United States has suffered damages because of GTRC and

Georgia Tech’s alleged conduct.

                                 COUNT V
              Negligent Misrepresentation; Federal Common Law
                              (Against GTRC)

      324.   The United States incorporates and re-alleges all the allegations

contained in this Complaint-in-Intervention into this paragraph.

      325.   In connection with the Astrolavos Lab Contracts, GTRC negligently

represented or certified to the United States (1) pursuant to DFARS 7008, that it

“will implement the security requirements specified by [NIST (SP) 800–171] . . .

not later than December 31, 2017”; and (2) on each and every invoice that it

submitted to DoD that it “certif[ies] that all payments are for appropriate purposes

and in accordance with the agreements set forth in the application and award

documents” or that it “certif[ies] the amounts herein claimed are in accordance

with the application and award documents and have not been previously

claimed.”

      326.   GTRC had a duty of competence and reasonable care in certifying and

representing its compliance with applicable federal regulations, including DFARS

7012, and in certifying in connection with invoices it submitted to the United States


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that “all payments are for appropriate purposes and in accordance with the

agreements set forth in the application and award documents” or “the amounts

herein claimed are in accordance with the application and award documents.”

      327.   The United States reasonably relied on GTRC’s false certifications to

enter in the Astrolavos Lab Contracts with it to make payments pursuant to the

invoices that GTRC submitted to the United States that contained the above

referenced certifications.

      328.   The United States has suffered damages because of GTRC’s alleged

conduct.

                                   COUNT VI
                     Unjust Enrichment; Federal Common Law
                        (Against Georgia Tech and GTRC)

      329.   The United States incorporates and re-alleges all the allegations

contained in this Complaint-in-Intervention into this paragraph.

      330.   This is a claim for the recovery of monies by which Defendants have

been unjustly enriched. By obtaining government funds to which they were not

entitled, Defendants were unjustly enriched, and are liable to account and pay

such amounts, or the proceeds therefrom, which are to be determined at trial, to

the United States.




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                                COUNT VII
                   Payment by Mistake; Federal Common Law
                      (Against GTRC and Georgia Tech)

       331.   The United States incorporates and re-alleges all the allegations

contained in this Complaint-in-Intervention into this paragraph.

       332.   This is a claim against GTRC and Georgia Tech for the recovery of

monies paid by the United States to them as a result of a mistaken understandings

of facts.

       333.   The false claims which GTRC submitted to the United States’ agents

were paid by the United States based upon mistaken or erroneous understandings

of material fact. GTRC then distributed a portion of the monies that the United

States paid to it to Georgia Tech.

       334.   The United States, acting in reasonable reliance on the truthfulness of

the claims and the truthfulness of Defendants’ certifications and representations,

paid GTRC certain sums of money to which it was not entitled, a portion of which

GTRC then distributed to Georgia Tech, and thus, GTRC and Georgia Tech are

liable to account and pay such amounts, which are to be determined at trial, to the

United States.




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                                COUNT VIII
                   Breach of Contract; Federal Common Law
                               (Against GTRC)

      335.   The United States incorporates and re-alleges all the allegations

contained in this Complaint-in-Intervention into this paragraph.

      336.   GTRC entered into the Astrolavos Lab Contracts with the United

States.

      337.   As alleged herein, GTRC breached those contracts by violating its

obligations under DFARS 7302, 7008, 7012, 7019, 7020, and FAR 52.204-21, which

were incorporated into their contracts with the United States, and by falsely

certifying their compliance with DFARS 7012, 7019, and 7020.

      338.   The United States has suffered damages because of GTRC’s alleged

conduct.

                              PRAYER FOR RELIEF

      WHEREFORE, the United States demands and prays that judgment be

entered in its favor against Defendants, specifically against GTRC on all counts,

and against Georgia Tech on Counts 3, 4, 6, and 7:

      • On the First and Second Counts under the False Claims Act, for
        the amount of the United States’ damages, trebled as required by
        law, and such civil penalties as are permitted by law, as well as its
        costs pursuing this action, together with all such further relief as
        may be just and proper.

      • On the Third, Fourth, Fifth, and Eighth Counts for Fraud,
        Negligent Misrepresentation, and Breach of Contract, the amount

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   of the United States’ damages and applicable interest together
   with all such further relief as may be just and proper.

• On the Sixth Count for unjust enrichment, for the amounts by
  which Defendants were unjustly enriched, plus interest, costs, and
  expenses, and for all such further relief as may be just and proper.

• On the Seventh Count for payment by mistake, for the amounts
  the United States paid by mistake, plus interest, costs, and
  expenses, and for all such further relief as may be just and proper.

                   DEMAND FOR JURY TRIAL

The United States demands a trial by jury.

                               Respectfully submitted,

                                BRIAN M. BOYNTON
                                Principal Deputy Assistant Attorney
                                General

                                RYAN K. BUCHANAN
                                United States Attorney
                                Northern District of Georgia

                                By: s/ Jake Shields
                                JAMIE ANN YAVELBERG
                                SARA MCLEAN
                                JAKE M. SHIELDS
                                DC Bar No. 493460
                                U.S. Department of Justice
                                Civil Division, Fraud Section
                                175 N. Street N.E.
                                Washington, DC 20002
                                Tel: (202) 514-9401
                                Fax: (202) 514-0280
                                jake.m.shields@usdoj.gov

                                By: s/ Adam D. Nugent
                                ADAM D. NUGENT

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                              ASSISTANT U.S. ATTORNEY
                              Georgia Bar No. 381008
                              MELANIE D. HENDRY
                              Georgia Bar No. 867550
                              600 Richard B. Russell Federal Bldg.
                              75 Ted Turner Drive, SW
                              Atlanta, Georgia 30303
                              Telephone: (404) 581-6000
                              Facsimile: (404) 581-6181
                              adam.nugent@usdoj.gov
                              melanie.hendry@usdoj.gov

                              Counsel for the United States




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